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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    Optio Rx, LLC, et al.,                                          Case No. 24-11188 (TMH)

                     Debtors.1                                      (Jointly Administered)



                         SECOND AMENDED JOINT CHAPTER 11 PLAN OF
                           REORGANIZATION OF OPTIO RX, LLC, et al.


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      The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
      are as follows: (1) Optio Rx, LLC (8436); (2) Braun Pharma, LLC (6643); (3) Dr. Ike’s PharmaCare LLC (2237);
      (4) Rose Pharmacy SA LLC (5738); (5) Rose Pharmacy SF LLC (1438); (6) Rose Pharmacy RM LLC (4205);
      (7) Pet Apothecary LLC (4315); (8) Crestview Holdings, LLC (1907); (9) SBH Medical LLC (3260); (10) H&H
      Pharmacy LLC (6793); (11) Enovex Pharmacy LLC (0693); (12) SMC Pharmacy LLC (5428); (13) SMC Lyons
      Holdings LLC (5441); (14) Baybridge Pharmacy, LLC (5518); (15) Central Pharmacy, LLC (6195); (16) Pro
      Pharmacy, LLC (6299); (17) Healthy Choice Compounding LLC (8770); (18) Healthy Choice Compounding
      LLC (1745); (19) Oakdell Compounding Pharmacy LLC (7537); (20) The Pet Apothecary LLC (6074); (21)
      Crestview Pharmacy, LLC (8091); (22) SBH Medical, Ltd. (3230); (23) Concierge Pharmacy LLC (5410); (24)
      Firstcare Pharmacy LLC (1203); (25) Easycare Pharmacy LLC (9408); (26) Primecare Pharmacy LLC (7645);
      and (27) HCP Pharmacy LLC (5216). The address of the Debtors’ corporate headquarters is 3701 Commercial
      Avenue, Suite 14, Northbrook, Illinois 60061.
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                                            INTRODUCTION

        The Debtors propose the Plan for the resolution of the outstanding Claims against and
Interests in the Debtors pursuant to chapter 11 of the Bankruptcy Code. Capitalized terms used in
the Plan and not otherwise defined shall have the respective meanings set forth in Section 1.01 of
the Plan or the Bankruptcy Code. Although proposed jointly for administrative purposes, the Plan
also seeks entry of a Bankruptcy Court order deeming the substantive consolidation of the Debtors’
Estates into a single Estate for certain limited purposes related to the Plan, including voting,
Confirmation, and distribution. As a result of the deemed substantive consolidation of the Estates,
each Class of Claims and Interests will be treated as against a single consolidated Estate without
regard to the separate legal existence of the Debtors. The Plan will not result in the merger or
otherwise affect the separate legal existence of each Debtor, other than with respect to voting and
distribution rights under the Plan. Each Debtor is a proponent of the Plan within the meaning of
section 1129 of the Bankruptcy Code. The classifications of Claims and Interests set forth in
Article III of the Plan shall be deemed to apply separately with respect to each Plan proposed by
each Debtor, as applicable. Reference is made to the Disclosure Statement for a discussion of the
Debtors’ history, business, properties and operations, projections, risk factors, a summary and
analysis of the Plan and certain related matters.

      ALL HOLDERS OF CLAIMS AGAINST THE DEBTORS, TO THE EXTENT
APPLICABLE, ARE ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE
PLAN.

                                           ARTICLE I
                            DEFINED TERMS, RULES OF INTERPRETATION,
                            COMPUTATION OF TIME AND GOVERNING LAW

Section 1.01 Defined Terms

      Unless the context otherwise requires, the following terms shall have the following
meanings when used in capitalized form:

       (a)        “AAL” means the Agreement Among Lenders, dated as of November 3, 2022
(as amended), between and among the First Out Holders, the Last Out Holder and the Prepetition
Admin Agent.

        (b)        “Administrative Claim” means any Claim for the costs and expenses of
administration of the Chapter 11 Cases pursuant to section 503(b), 507(a)(2), 507(b) or 1114(e)(2)
of the Bankruptcy Code, including the actual and necessary costs and expenses incurred after the
Petition Date and through the Effective Date of preserving the Estates and operating the businesses
of the Debtors, other than the Professional Fee Claims.

       (c)          “Administrative Expense Claim Bar Date” means the date that is forty-five (45)
days after notice of entry of the Effective Date, which notice shall set forth such deadline and be
served on all parties known by the Debtors to hold or potentially hold Administrative Claims.

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        (d)       “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.
With respect to any Person that is not a Debtor, the term “Affiliate” shall apply to such Person as
if such Person was a Debtor.

        (e)         “Allowed” means, with respect to any Claim, except as otherwise provided
herein: (a) a Claim that has been scheduled by the Debtors in their Schedules as other than
“disputed, contingent or unliquidated” (as such terms are defined in the Schedules); (b) a proof of
Claim that has been Filed and as to which the Debtors, the Reorganized Debtors, or other parties-
in-interest have not Filed an objection by the applicable Claims Objection Bar Date; (c) a Proof of
Claim that is neither Disputed nor has been disallowed by a Final Order; (d) a Claim that is allowed
pursuant to the terms of this Plan; or (e) a Claim that is estimated pursuant to section 502(c) of the
Bankruptcy Code, unless otherwise and explicitly provided by order of the Bankruptcy Court.

        (f)        “Aves Settlement Agreement” means that certain Settlement Term Sheet, dated
as of June 29, 2024, attached as Exhibit E to the Disclosure Statement and incorporated herein as
though set forth at length below. Certain terms of the Aves Settlement Agreement are expressly
set forth herein. The failure to include any provision of the Aves Settlement Agreement in the
Plan shall not diminish or impair the remaining terms or conditions of the Aves Settlement
Agreement and notwithstanding anything to the contrary in the Plan, any inconsistencies between
the Aves Settlement Agreement and the Plan shall be construed giving effect to the Aves
Settlement Agreement.

        (g)         “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination or other Claims, Causes of Action or remedies that may be brought by or on behalf
of the Company Parties, their Estates, or other parties in interest under sections 502, 510, 542, 544,
545, 547 through 553, and 724(a) or other applicable sections of the Bankruptcy Code or under
similar or related local, state, federal or foreign statutes and common law, including fraudulent
transfer laws.

       (h)       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended from time to time.

       (i)         “Bankruptcy Court” means the United States Bankruptcy Court for the District
of Delaware and, to the extent of any withdrawal of reference under 28 U.S.C. § 157, the United
States District Court for the District of Delaware.

       (j)         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure,
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the United
States Code, 28 U.S.C. § 2075, as applicable to the Chapter 11 Cases and the general, local and
chambers rules of the Bankruptcy Court, as now in effect or hereafter amended.

       (k)         “Business Day” means any day other than a Saturday, a Sunday, a “legal
holiday” (as defined in Bankruptcy Rule 9006(a)) or other day on which commercial banks are
authorized to close under the Laws of, or are in fact closed in, the State of New York.

        (l)        “Cash” means the legal tender of the United States of America or the equivalent
thereof, including bank deposits, checks or other similar items.

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              (m)          “Cash Consideration” means $350,000 (subject to the DIP Lender Clawback).

        (n)          “Cause of Action” means any action, claim, cross-claim, third-party claim,
cause of action, controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense,
remedy, offset, power, privilege, proceeding, license or franchise of any kind or character
whatsoever, known or unknown, foreseen or unforeseen, contingent or non-contingent, matured
or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed,
secured or unsecured, assertable directly or derivatively (including any alter ego theories), whether
arising before, on or after the Petition Date, in contract or in tort, in law or in equity or pursuant to
any other theory of law (including under any state or federal securities laws). For the avoidance
of doubt, the term “Cause of Action” includes (i) any right of setoff, counterclaim, or recoupment
and any claim for breach of contract or for breach of duties imposed by law or in equity, (ii) the
right to object to or otherwise contest Claims or Interests, (iii) any claim pursuant to section 362
of the Bankruptcy Code, Avoidance Actions, or chapter 5 of the Bankruptcy Code, (iv) any claim
or defense, including fraud, mistake, duress and usury and any other defenses set forth in section
558 of the Bankruptcy Code, and (v) any claim under any state or foreign law, including any
fraudulent transfer or similar claim.

        (o)        “CBC Pharma” means Non-Debtor CBC Pharma Holdco, LLC, the direct or
indirect parent company of Optio Rx and each of the other Debtors.

       (p)        “Challenges” shall have the meaning under the DIP Orders and shall be released
Causes of Action under the Plan.

        (q)       “Chapter 11 Cases” means the cases pending for the Debtors under chapter 11
of the Bankruptcy Code in the Bankruptcy Court.

              (r)          “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code.

        (s)       “Claims Register” means the official register of Claims against or Interests in
any of the Debtors maintained by the Solicitation Agent.

        (t)        “Class” means any group of Claims or Interests classified by the Plan pursuant
to section 1122(a) of the Bankruptcy Code.

       (u)          “Company” means Optio Rx, LLC and certain of its direct and indirect
subsidiaries that are Debtors in these Chapter 11 Cases.

       (v)       “Company Parties” means, consistent with the Restructuring Support
Agreement: (1) Optio Rx, LLC; (2) Braun Pharma, LLC; (3) Dr. Ike’s PharmaCare, LLC; (4)
Rose Pharmacy SA LLC; (5) Rose Pharmacy SF LLC; (6) Rose Pharmacy RM LLC; (7) Pet
Apothecary, LLC; (8) Crestview Holdings, LLC; (9) SBH Medical, LLC; (10) H&H Pharmacy,
LLC; (11) Enovex Pharmacy, LLC; (12) SMC Pharmacy, LLC; (13) SMC Lyons Holdings, LLC;
(14) Baybridge Pharmacy, LLC; (15) Central Pharmacy, LLC; (16) Pro Pharmacy, LLC; (17)
Healthy Choice Compounding LLC; (18) Oakdell Compounding Pharmacy, LLC; (19) The Pet
Apothecary LLC; (20) Crestview Pharmacy, LLC; (21) SBH Medical, Ltd.; (22) Concierge

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Pharmacy, LLC; (23) Firstcare Pharmacy, LLC; (24) Easycare Pharmacy, LLC; and (25)
Primecare Pharmacy, LLC.

       (w)        “Confirmation” means the entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

       (x)        “Confirmation Date” means the date upon which the Bankruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy
Rules 5003 and 9021.

       (y)        “Confirmation Hearing” means the hearing held by the Bankruptcy Court on
Confirmation of the Plan, pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of
the Bankruptcy Code, as such hearing may be, or may have been, continued from time to time.

       (z)        “Confirmation Order” means the order of the Bankruptcy Court approving the
Disclosure Statement and confirming the Plan in the Chapter 11 Cases pursuant to section 1129 of
the Bankruptcy Code in a form consistent with the consent rights of the parties to the Restructuring
Support Agreement.

       (aa)      “Consenting Lender Advisors” means DLA Piper LLP (US) and counsel to the
Last Out Holder.

       (bb)       “Consenting Lenders” means the First Out Holders and the Last Out Holder that
have executed and delivered counterpart signature pages to the Restructuring Support Agreement.

              (cc)         “Consummation” means the occurrence of the Effective Date.

         (dd)      “Convenience Claim” means a General Unsecured Claim in an amount of $500
or less, or a General Unsecured Claim that has been reduced by its Holder below $500.

       (ee)       “Cure Claim” means a Claim based upon a monetary default, if any, by a Debtor
on an Executory Contract or Unexpired Lease at the time such contract or lease is assumed by such
Debtor pursuant to sections 365 and 1123 of the Bankruptcy Code.

       (ff)        “D&O Liability Insurance Policies” means all insurance policies of the Debtors
or the Reorganized Debtors or any non-Debtor Affiliate for directors’, officers’, managers’ and
any other Insured (as defined in such policy) entities’ liability.

       (gg)       “Debtors” means the above captioned debtors, in their capacity as debtors and
debtors-in-possession in these Chapter 11 Cases.

      (hh)                 “Definitive Documents” has the meaning set forth in the Restructuring Support
Agreement.

        (ii)        “DIP Agent” means Loan Admin Co LLC, the administrative agent and the
collateral agent for the DIP Lenders with respect to the DIP Facility.

              (jj)         “DIP Agent Advisor” means DLA Piper LLP (US).

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        (kk)       “DIP Credit Agreement” means the debtor-in-possession financing agreement
by and among certain Company Parties, the DIP Agent, and the DIP Lenders setting forth the terms
of the DIP Facility, in accordance with the DIP Facility Term Sheet.

        (ll)       “DIP Documents” means, collectively, the DIP Credit Agreement and any other
agreements, documents, and instruments delivered or entered into in connection therewith,
including, without limitation, any guarantee agreements, pledge and collateral agreements,
intercreditor agreements, and other security documents, and the Interim DIP Order and Final DIP
Order.

         (mm)       “DIP Facility” means the loans under the debtor-in-possession financing
facility on the terms and conditions set forth in the DIP Facility Term Sheet.

        (nn)       “DIP Facility Term Sheet” means the debtor-in-possession to exit financing, to
be provided by the DIP Lenders and the Consenting Lenders, as applicable, as specified in the term
sheet attached as Exhibit A to the Restructuring Support Agreement.

        (oo)        “DIP Lender Clawback” means, as applicable, (i) a dollar-for-dollar reduction
in the Cash Consideration by the actual fees of professionals of the official committee of unsecured
creditors (the “Committee”) allowed on account of final fee applications of such professionals up
to $100,000, (ii) a $350,000 reduction in the Cash Consideration if the actual fees of professionals
of the Committee allowed on account of final fee applications of such professionals exceeds
$100,000, and (iii) a dollar-for-dollar reduction in the amount and liquidation preference of the
junior preferred equity received by the Noteholders by the amount (x) the actual fees of
professionals of the Committee allowed on account of final fee applications of such professionals
plus the expenses and professional costs incurred by the Debtors, the Consenting Lenders, and the
DIP Lenders, and their respective agents, in defending or opposing any actions, motions, or
objections brought by the Committee exceeds (y) $350,000.

        (pp)       “DIP Lenders” means the First Out Holders and Last Out Holder under the
Prepetition Credit Agreement (or its or their affiliates or related funds).

       (qq)       “DIP Lien Secured Claims” means the allowed first-priority, perfected,
enforceable and unavoidable secured claims granted to the DIP Lenders in the DIP Orders.

        (rr)        “DIP Lien Conversion” means the conversion of 100% of the DIP Lenders’ DIP
Superpriority Claims into Exit Facility Claims to effect the Exit Capital Structure attached as an
exhibit to the Restructuring Support Agreement on the Effective Date.

              (ss)          “DIP Orders” means collectively the Interim DIP Order and the Final DIP
Order.

       (tt)         “DIP Superpriority Claims” means the allowed superpriority administrative
expense claims, granted to the DIP Lenders in the DIP Orders, in excess of the value of the
Debtors’ interests in the Collateral, if any.




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       (uu)       “Disbursing Agent” means the Reorganized Debtors, or the Entity or Entities
chosen by the Reorganized Debtors, to make or facilitate distributions pursuant to the Plan, which
Entity may include the Solicitation Agent.

       (vv)        “Disclosure Statement” means the disclosure statement with respect to the Plan,
including all exhibits, appendices, schedules, ballots and related documents thereto, as amended,
supplemented or modified from time to time, to be approved by the Confirmation Order.

        (ww)        “Distribution Date” means the date occurring as soon as reasonably practicable
after the Effective Date when distributions under the Plan shall commence.

        (xx)       “Distribution Record Date” means the record date for purposes of making
distributions under the Plan on account of Allowed Claims and Allowed Interests, which date shall
be the first Business Day after the day on which the Confirmation Order is entered by the
Bankruptcy Court.

       (yy)       “Effective Date” means the first Business Day after the Confirmation Date on
which all provisions, terms and conditions specified in Section 8.02 have been either satisfied or
waived pursuant to Section 8.03.

       (zz)        “Enjoined Party” means all Persons and Entities who have held, hold or may
hold Claims or Interests that have been settled, released or discharged or are subject to exculpation
pursuant to the Plan.

              (aaa)         “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       (bbb)     “Equity Security” means any equity security, as defined in section 101(16) of
the Bankruptcy Code, in any of the Debtors.

       (ccc)     “Estates” means the estates of each of the Debtors created under section 541 of
the Bankruptcy Code.

        (ddd)       “Exculpated Claim” means any claim and Cause of Action related to any act or
omission in connection with, relating to or arising out of the Chapter 11 Cases, the formulation,
preparation, dissemination or negotiation, entry into, or filing of the Restructuring Support
Agreement and related prepetition and postpetition transactions, any Definitive Document, the
Disclosure Statement, the New Governance Documents, the DIP Facility, the Exit Facility, the
Plan Term Sheet, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transactions, contract, instrument, release or other agreement or document created
or entered into in connection with the Restructuring Support Agreement, the New Governance
Documents, the Disclosure Statement, the DIP Facility, the Exit Facility, the Plan Supplement, the
filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, and any other contract, instrument, release or other
agreement or document created or entered into before or during these Chapter 11 Cases, the pursuit
of Confirmation, the pursuit of Consummation, the administration and implementation of the Plan,
including, to the extent applicable, the issuance of securities pursuant to the Plan, or the distribution
of property under the Plan, or upon any other related act or omission, transaction, agreement, event
or other occurrence taking place on or after the Petition Date through the Effective Date.
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        (eee)      “Exculpated Party” means, collectively, and in each case in its capacity as such:
(i) each of the Debtors; (ii) any statutory committees appointed in the Chapter 11 Cases and the
members thereof; (iii) the Debtors’ officers, directors, and managers, specifically including
Pharmacy Management LLC and its Affiliates and lenders (solely in their fiduciary capacities, if
any), and (iv) the Debtors’ and Committee’s professionals retained under sections 327 or 1103 of
the Bankruptcy Code (each in their capacities as such) that served in such capacities at any time
between the Petition Date and the Effective Date.

              (fff)         “Exculpation” means the exculpation provision set forth in Section 7.05 hereof.

         (ggg)       “Executory Contract” means a contract to which any of the Debtors is a party
that is subject to assumption or rejection under section 365 of the Bankruptcy Code.

         (hhh)     “Existing Governance Documents” means the Debtors’ respective certificates
of incorporation, certificates of formation, bylaws, charters, trust agreements, indentures, limited
liability company agreements, partnership agreements, shareholder agreements and such other
formation and constituent documents in effect prior to the Effective Date.

       (iii)      “Exit Capital Structure” means the capital structure chart attached to the
Restructuring Support Agreement as Exhibit C.

        (jjj)       “Exit Facility” means that certain exit facility, substantially in the form of that
certain Exit Facility Term Sheet attached as Exhibit E to the Plan Supplement, comprising the sum
of the DIP Lien Conversion and a portion of the Prepetition Lien Claims that are the subject of
clause (a) of the Prepetition Lien Conversion and consistent with the terms, conditions, and
provisions of an exit facility giving effect to the Exit Capital Structure.

       (kkk)       “Exit Facility Claims” means the portion of the First Out Holders and Last Out
Holder’s respective Prepetition Lien Claims and 100% of the DIP Lenders’ DIP Superpriority
Claims to be rolled in into the Exit Facility under the Plan Term Sheet.

      (lll)      “Final DIP Order” means the order approving the DIP Facility entered by the
Bankruptcy Court on July 1, 2024 [D.I. 133].

        (mmm)        “Final Order” means an order, ruling or judgment of the Bankruptcy Court or
other court of competent jurisdiction with respect to the relevant subject matter which has: (a) not
been reversed, stayed, modified, amended, or vacated as to which the time to appeal, petition for
certiorari or move for a new trial, stay, reargument, reconsideration or rehearing has expired and
no appeal, petition for certiorari or motion for reargument, reconsideration or rehearing has been
timely filed; or (b) as to which any appeal, petition for certiorari or motion for a new trial, stay,
reargument, reconsideration or rehearing that has been or may be filed has been resolved by the
highest court to which the order or judgment was appealed or from which certiorari, reargument,
reconsideration or rehearing was sought; provided that the possibility that a motion under Rule 60
of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may
be filed relating to such order shall not prevent such order from being a Final Order.

      (nnn)       “Finance Documents” means (a) the Prepetition Credit Agreement, (b) the
AAL, and (c) all other documents entered into, pursuant to, or in connection with, the foregoing
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documents in clauses (a) and (b) of this definition (including, but not limited to, any cash
management arrangements and ancillary facilities).

       (ooo)      “Financing Orders” means any orders entered in the Chapter 11 Cases
authorizing debtor-in-possession financing or the use of cash collateral (whether interim or final).

      (ppp)      “First Out Holders” means the holders of First Out Term Loans and/or First Out
Revolving Loans under the Prepetition Credit Agreement and the AAL.

              (qqq) “First Out Term Lien Claims” means First Out Term Loan secured claims.

       (rrr) “First Out Term Loans” means the first out term loans provided by the First Out
Holders under the Prepetition Credit Agreement and the AAL.

              (sss)         “First Out Revolving Lien Claims” means First Out Revolving Loan secured
claims.

        (ttt)     “First Out Revolving Loans” means the first out revolving loans provided by
the First Out Holders under the Prepetition Credit Agreement and the AAL.

       (uuu)       “General Unsecured Claim” means any unsecured Claim against any of the
Debtors that is not a Noteholder Claim, a Seller Noteholder Claim, an Intercompany Claim or a
Claim that is Secured, subordinated or entitled to priority under the Bankruptcy Code.

       (vvv)       “GUC Opt-In Gift” the gift, in the amount of $15,000, from the Prepetition
Secured Lenders to the Holders of Allowed Claims or Interests (i) that are entitled to vote on the
Plan and (ii) who vote to accept the Plan and opt-in to the releases in favor of the Released Parties.

        (www)      “General Unsecured Trade Claim” means any General Unsecured Claim held
by a trade vendor that agrees to continue to provide goods or services to the Reorganized Debtors
following the Effective Date on the same or better terms as immediately prior to the Petition Date
by entering into a Trade Agreement with the Debtors.

       (xxx)     “GUC Trade Gift” means the gift from the Prepetition Secured Lenders to the
Holders of allowed General Unsecured Trade Claims to satisfy (x) 85% of all Allowed General
Unsecured Trade Claims on the Effective Date and (y) the remaining 15% of such Allowed
General Unsecured Trade Claims on the one-year anniversary of the Effective Date.

        (yyy)      “Governing Body” means the board of directors, board of managers, manager,
general partner, investment committee, special committee, or such similar governing body of an
Entity.

        (zzz)     “Governmental Unit” means any domestic, foreign, provincial, federal, state,
local or municipal (a) government, (b) governmental agency, commission, department, bureau,
ministry or other governmental entity or (c) any other governmental unit as defined in section
101(27) of the Bankruptcy Code.

              (aaaa)        “Holder” means any Entity holding a Claim or an Interest, as applicable.

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              (bbbb)        “Impaired” means any Claim or Interest in an Impaired Class.

       (cccc)        “Impaired Class” means a Class that is impaired within the meaning of section
1124 of the Bankruptcy Code. For the avoidance of doubt, Impaired Classes under the Plan are
Classes 1, 5, 6, 7, 8, 9, 10 and 12.

       (dddd)       “Insurance Policies” means any insurance policies, insurance settlement
agreements, coverage-in-place agreements or other agreements related to the provision of
insurance entered into by or issued to or for the benefit of any of the Debtors or their predecessors.

       (eeee)     “Insurer” means a counterparty to any Insurance Policy that is not a Debtor, its
predecessors, or Affiliates.

      (ffff)     “Intercompany Claim” means any Claim against a Debtor held by a Debtor or
a Company Party.

      (gggg)     “Intercompany Interest” means an any Interest in a Debtor held by a Debtor or
a Company Party.

        (hhhh)      “Interest” means collectively, (i) any Equity Security, or any other equity,
ownership interest (including any such interest in a partnership, limited liability company or other
Entity), in any of the Debtors, (ii) any other rights, options, warrants rights, stock appreciation
rights, phantom stock rights, restricted stock units, redemption rights, repurchase rights,
convertible, exercisable or exchangeable securities or other agreements, arrangements or
commitments of any character relating to, or whose value is related to, any such interest or other
ownership interest in any of the Debtors, and (iii) any and all Claims against any of the Debtors
that are otherwise determined by the Bankruptcy Court to be an equity interest, including any
Claim or debt that is recharacterized as an equity interest or subject to subordination as an equity
interest pursuant to section 510(b) of the Bankruptcy Code.

      (iiii)       “Interim DIP Order” means the order from the Bankruptcy Court approving the
DIP Facility on an interim basis.

        (jjjj)     “Last Out Holder” means the holder of Last Out Term Loans under the
Prepetition Credit Agreement and the AAL.

              (kkkk)        “Last Out Term Lien Claims” means the Last Out Term Loan secured claims.

       (llll)     “Last Out Term Loans” means the last out term loans provided by the Last Out
Holder under the Prepetition Credit Agreement and the AAL.

              (mmmm) “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

       (nnnn)      “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure for
the United States Bankruptcy Court for the District of Delaware.

      (oooo)    “Milestones” have the meaning set forth in Section 6.03 of the Restructuring
Support Agreement.

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        (pppp) “New Governance Documents” means the partnership agreement, certificate of
incorporation, certificate of formation, bylaws, charter, trust agreement, indenture, limited liability
company agreement, shareholder agreement and such other formation and constituent documents
of the Reorganized Debtors, each of which shall be included in the Plan Supplement.

              (qqqq)       “Notes” means the notes issued by Optio Rx under the Note Purchase Agreement.

       (rrrr)  “Noteholders” means the purchasers from time to time of the Notes under the
Note Purchase Agreement.

       (ssss)    “Noteholder Claims” means the subordinated claims of the Noteholders due
under the Notes.

       (tttt)   “Note Purchase Agreement” means that certain Note Purchase Agreement, dated
as of September 25, 2020, as amended, between and among CBC Pharma, Optio Rx, the
Noteholders, and Aves Management LLC, as Administrative Agent, subject to the Subordination
Agreement.

        (uuuu) “Online Pharmacy Holdings LLC” means the new holding company formed on
May 22, 2024 to issue preferred and common equity shares or units in connection with the
Prepetition Lien Conversion, the equity structure of which is set forth in that certain Equity Term
Sheet attached as Exhibit A-2 to the Plan Supplement.

              (vvvv)       “Optio Rx” means Debtor Optio Rx, LLC.

       (wwww) “Other General Unsecured Claim” means any unsecured Claim against any of the
Debtors that is not a Noteholder Claim, a Seller Noteholder Claim, a General Unsecured Trade
Claim, an Intercompany Claim or a Claim that is Secured, subordinated or entitled to priority under
the Bankruptcy Code.

         (xxxx)     “Other Priority Claim” means any Claim against any Debtor entitled to priority
in right of payment under section 507(a) of the Bankruptcy Code, other than: (i) an Administrative
Claim, (ii) a Professional Fee Claim or (iii) a Priority Tax Claim.

       (yyyy)     “Outside Date” shall be December 31, 2024, which date may be extended solely
upon the express written consent from each of the Consenting Lenders.

       (zzzz)      “Person” means any natural person, corporation, limited liability company,
professional association, limited partnership, general partnership, joint stock company, joint
venture, association, company, trust, bank, trust company, land trust, business trust or other
organization, whether or not a legal entity, and any governmental authority.

       (aaaaa)    “Petition Date” means the first date on which each of the Debtors commenced
a Chapter 11 Case.

       (bbbbb)              “Pharmacy Management LLC” means the entity serving as the manager of
Optio Rx


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       (ccccc)    “Plan” means this Second Amended Joint Chapter 11 Plan of Reorganization
of Optio Rx, LLC, et al., either in its present form or as it may be altered, amended, modified or
supplemented from time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules,
the Restructuring Support Agreement or the terms hereof, as the case may be, and the Plan
Supplement, subject to the consent rights of the Consenting Lenders set forth in the Restructuring
Support Agreement, which is incorporated herein by reference, including all exhibits and
schedules hereto and thereto.

        (ddddd) “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules and exhibits to the Plan including, among other things, as
applicable: (i) the New Governance Documents providing the identity and affiliations of the
persons proposed to serve as the initial directors and officers of the Reorganized Debtors after
Confirmation of the Plan; (ii) the Schedule of Retained Causes of Action; (iii) the Rejected
Executory Contract and Unexpired Lease List; (iv) the Feasibility Analysis; and (v) any other
necessary documentation related to the Restructuring Transactions (in each case, as may be altered,
amended, modified or supplemented from time to time in accordance with the terms hereof and in
accordance with the Bankruptcy Code and Bankruptcy Rules) to be filed by the Debtors, to the
extent reasonably practicable, no later than seven (7) days before the earlier of (a) the Voting
Deadline, (b) the confirmation objection deadline, or (c) such later date as may be approved by the
Bankruptcy Court on notice to parties in interest; provided that, through the Effective Date, the
Debtors, subject to the consent rights in the Restructuring Support Agreement, shall have the right
to amend documents contained in, and exhibits to, the Plan Supplement in accordance with the
terms of the Plan and the Restructuring Support Agreement.

       (eeeee)     “Plan Term Sheet” means the term sheet summarizing the Restructuring
Transactions attached to the Restructuring Support Agreement as Exhibit B.

        (fffff)  “Prepetition Admin Agent” means Loan Admin Co LLC, as administrative
agent, and Loan Admin Co LLC, as lead arranger, under the Prepetition Credit Agreement.

       (ggggg) “Prepetition Credit Agreement” means that certain Credit Agreement, dated as
of June 28, 2019 (as amended), by and among CBC Pharma, the Debtors, the Prepetition Admin
Agent and the Prepetition Secured Lenders.

        (hhhhh) “Prepetition Lien Claims” means the First Out Term Lien Claims, the First Out
Revolving Lien Claims and the Last Out Term Lien Claims secured by first-priority liens and
security interests in substantially all the Debtors’ assets.

         (iiiii)    “Prepetition Lien Conversion” means the First Out Holders’ and Last Out
Holder’s conversion of (i) a portion of their Prepetition Lien Claims into Exit Facility Claims and
(ii) the remaining portion of their Prepetition Lien Claims into Prepetition Lien Conversion Equity,
all to effect the Exit Capital Structure attached to the Restructuring Support Agreement.

        (jjjjj)     “Prepetition Lien Conversion Equity” means the preferred and common equity
shares or units of Online Pharmacy Holdings LLC received by the First Out Holders and Last Out
Holder as consideration for committing to the conversion of the remaining portion of their


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Prepetition Lien Claims after converting a portion of their Prepetition Lien Claims into Exit
Facility Claims, and in which Interests in Optio Rx shall vest on the Effective Date.

        (kkkkk) “Prepetition Secured Lenders” means the First Out Lien Holders, the Last Out
Lien Holder, and any other lender party to the Prepetition Credit Agreement and AAL from time
to time.

      (lllll)    “Prepetition Secured Obligations” means the First Out Term Loans, the First
Out Revolving Loans, and the Last Out Term Loans.

        (mmmmm) “Priority Tax Claim” means any Claim of a Governmental Unit of the kind
specified in section 507(a)(8) of the Bankruptcy Code.

         (nnnnn) “Pro Rata” means, with respect to an Allowed Claim, the percentage
represented by a fraction (i) the numerator of which shall be an amount equal to such Claim and
(ii) the denominator of which shall be an amount equal to the aggregate amount of Allowed and
estimated Claims in the same Class as such Claim, except in cases where Pro Rata is used in
reference to multiple Classes, in which case Pro Rata means the portion that such Holder’s Claim
in a particular class bears to the aggregate amount of all Allowed and estimated Claims in such
multiple Classes.

       (ooooo) “Professional” means an Entity: (a) retained pursuant to a Final Order in
accordance with sections 327, 363 or 1103 of the Bankruptcy Code and to be compensated for
services rendered prior to or on the Confirmation Date, pursuant to sections 327, 328, 329, 330,
331 and 363 of the Bankruptcy Code or (b) awarded compensation and reimbursement by the
Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

       (ppppp) “Professional Fee Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses of Professionals that such Professionals estimate they
have incurred or will incur in rendering services to the Debtors as set forth in Article II of the Plan.

       (qqqqq) “Professional Fee Claim” means a Claim by a Professional seeking an award
by the Bankruptcy Court of compensation for services rendered or reimbursement of expenses
incurred through and including the Effective Date under sections 330, 331, 503(b)(2), 503(b)(3),
503(b)(4) or 503(b)(5) of the Bankruptcy Code. For the avoidance of doubt, in accordance with
the UCC Settlement Agreement, 10% of the Professional Fee Claims of Professionals retained by
the Committee shall be paid or otherwise contributed by or on behalf of the Committee
Professionals into the UCC Settlement Amount.

       (rrrrr)    “Professional Fee Escrow Account” means an interest-bearing account to be
funded by the Debtors with Cash on or prior to the Effective Date in an amount equal to the
Professional Fee Amount.

        (sssss)     “Reinstated” means, with respect to any Claim or Interest, that the Claim or
Interest shall not be discharged hereunder and the Holder’s legal, equitable and contractual rights
on account of such Claim or Interest shall remain unaltered by Consummation, rendering such
Claim or Interest unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstate”
or “Reinstatement” shall have correlative meanings.
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       (ttttt)     “Rejected Executory Contract and Unexpired Lease List” means the list, as
determined by the Debtors or the Reorganized Debtors, as applicable, of Executory Contracts and
Unexpired Leases (if any) that will be rejected by the Reorganized Debtors pursuant to the Plan,
which list, as may be amended from time to time, shall be included in the Plan Supplement.

         (uuuuu) “Related Parties” means, collectively, with respect to any Entity, in each case
in its capacity as such with respect to such Entity, such Entity’s current and former affiliates, and
such party’s and such affiliates’ current and former affiliates, directors, trustees, managers,
officers, investment committee, members, special or other committee members, equity holders
(regardless of whether such interests are held directly or indirectly), predecessors, participants,
successors, assigns, subsidiaries, Affiliates, partners, limited partners, general partners, principals,
members, employees, agents, management companies, fund advisors or managers, managed funds
(including any beneficial holders for the account of whom such funds are managed), advisory
board members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, and other professionals and advisors (including, for the avoidance of doubt, any
attorneys, investment bankers or other professionals and advisors retained by any current and
former director and manager in his or her capacity as director or manager of such person) and any
such Person’s or Entity’s respective heirs, executory, estates and nominees.

        (vvvvv) “Released Parties” means, collectively, (a) each of the Debtors, (b) the
Reorganized Debtors, (c) the Consenting Lenders, (d) the DIP Lenders, (e) the Admin Agent; (f)
Aves, (g) the Noteholders; and (h) the Related Parties of each of the foregoing Entities in clauses
(a) through (g) of this definition; provided, however, that if any of Aves and the Noteholders do
not vote to accept the Plan, such non-accepting parties shall not be Released Parties. For the
avoidance of doubt, the manager of Pharmacy Management LLC and its Related Parties shall be
deemed Released Parties. For the further avoidance of doubt, the following individuals are not,
and shall not be deemed to be, Released Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku
Patel, (iv) Crestview City Pharmacy, Inc., (v) Jennifer Reshay Densman, (vi) Chistopher Neil
Densman, (vii) Bryan Henderson, (viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari Waites, (xi)
Victoria Ballard, (xii) Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford, (xv) Sergio
Zepeda, (xvi) Cold Bore Capital Management, LLC, and (xvii) Marc Wank.

         (wwwww) “Releasing Party” means, collectively, and in each case in their capacity as
such: (i) each of the Released Parties; (ii) all Holders of Claims or Interests that vote to accept or
reject the Plan and opt-into the releases provided by the Plan by checking the box on the applicable
form indicating that they opt to grant the releases provided in the Plan; (iii) all Holders of Claims
or Interests that abstain from voting on the Plan and who affirmatively opt-into the releases
provided by the Plan by checking the box on the applicable form indicating that they opt to grant
the releases provided in the Plan; (iv) each current and former Affiliate of each Entity in clause (i)
through the following clause (v); and (v) each Related Party with respect to each of the foregoing
in clauses (i) through (v).

        (xxxxx) “Reorganized Debtors” means, collectively, the Debtors, and any successors
thereto, by merger, consolidation or otherwise, as reorganized pursuant to and under the Plan, on
or after the Effective Date.



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        (yyyyy) “Restructuring Support Agreement” means that certain Restructuring Support
Agreement, dated as of May 9, 2024, by and among the Debtors, the First Out Holders, and the
Last Out Holder, as may be amended, modified or supplemented from time to time in accordance
with its terms.

        (zzzzz)    “Restructuring Transactions” means the transactions set forth in the
Restructuring Support Agreement, the Plan Term Sheet attached thereto and all other exhibits to
the Restructuring Support Agreement or the Plan Term Sheet that shall be implemented on or prior
to the Effective Date.

        (aaaaaa) “Retained Causes of Action” means all claims, Causes of Action, rights of
action, suits and proceedings, whether in law or in equity, whether known or unknown, which any
of the Debtors or their Estates may hold against any Entity, including (a) Avoidance Actions; (b)
claims and Causes of Action brought prior to the Effective Date, (c) claims and Causes of Action
against any Entities for failure to pay for products or services provided or rendered by any of the
Debtors, (d) claims and Causes of Action relating to strict enforcement of any of the Debtors’
intellectual property rights, including patents, copyrights and trademarks, including claims against
third parties for infringement of any such intellectual property rights or other misuse of such
intellectual property, and (e) claims and Causes of Action seeking the recovery of any of the
Debtors’ accounts receivable or other receivables or rights to payment created or arising in
connection with any of the Debtors’ businesses, including claim overpayments and tax refunds;
provided that the Retained Causes of Action shall not include (i) all Causes of Action settled,
released, or exculpated under the Plan, including the releases in Article VII, and (ii) all Challenges.

         (bbbbbb) “Schedules” means, collectively and if any are required, the schedules of assets
and liabilities, schedules of Executory Contracts and Unexpired Leases and statements of financial
affairs, if any, filed by each of the Debtors pursuant to section 521 of the Bankruptcy Code and
the applicable Bankruptcy Rules, as such Schedules may be amended, modified or supplemented
from time to time, solely to the extent such filing is not waived pursuant to an order of the
Bankruptcy Court.

        (cccccc) “Secured” means, when referring to a Claim: (a) secured by a Lien on property
in which an Estate of any of the Debtors against which the Claim is asserted has an interest, which
Lien is valid, perfected and enforceable pursuant to applicable law or by reason of a Bankruptcy
Court order, to the extent of the value of the creditor’s interest in the Estates’ interest in such
property as determined pursuant to section 506(a) of the Bankruptcy Code; (b) subject to setoff
pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the property subject
to setoff; or (c) otherwise Allowed pursuant to the Plan as a Secured Claim.

              (dddddd) “Secured Claim” means any Claim that is Secured.

       (eeeeee) “Seller Notes” means those certain unsecured notes, that certain of the Debtors
are obligated on, issued to prior owners of businesses that were purchased by the Debtors,
including, without limitation, unsecured notes issued to BHM Capital, Inc., Universal
Pharmaceutical Services, Inc., H&H Pharmacy, Inc. (d/b/a Dr. Ike’s Pharmacy #1), Dr. Ike, Inc.
(d/b/a Dr. Ike’s PharmaCare), Robert Hirsh, Elizabeth Buller, Salo, Inc., PIA Holdings, Inc.,


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Baybridge Pharmacy Corp., 121 Central Pharmacy Corp., Delco Pharmacy Corp., OCPLP, Inc.,
and John J. Carson.

              (ffffff)      “Seller Noteholders” means holders of Seller Notes.

      (gggggg) “Seller Noteholder Claims” means the unsecured Claims of the Seller
Noteholders.

              (hhhhhh) “Solicitation Agent” means Stretto, Inc.

       (iiiiii)   “Subordinated Claim” means a Claim that is subordinated pursuant to section
510(b) of the Bankruptcy Code or any other applicable law.

         (jjjjjj)    “Subordinated Lender” means, collectively, Aves Special Opportunities Fund
I, L.P., Allstate Insurance Company, Cross Country Mortgage, LLC, and Siguler Guff (Optio Rx)
Holdings, LLC.

        (kkkkkk) “Subordination Agreement” means that certain Subordination Agreement,
dated as of September 25, 2020, between and among, the Subordinated Lender, Optio Rx as the
Borrower, Aves Management, LLC as the Subordination Agent, and Loan Admin Co LLC, as
Administrative Agent, as amended, modified, extended, restated, replaced, or supplemented from
time to time, subordinating the Noteholder Claims under the Note Purchase Agreement to the
Prepetition Secured Obligations.

              (llllll)      “Third-Party Release” means the release set forth in Section 7.03 of the Plan.

        (mmmmmm) “Trade Agreement” means an agreement to continue to provide goods or
services to the Reorganized Debtors, on the same or similar terms that existed immediately prior
to the Petition Date, for the duration of the Chapter 11 Cases.

        (nnnnnn) “Transaction Expenses” means all reasonable and documented fees, costs, and
expenses of the Consenting Lender Advisors and DIP Agent Advisor in connection with the
negotiation, formulation, preparation, execution, delivery, implementation, consummation of the
Definitive Documents, and/or enforcement of the Restructuring Support Agreement and/or any of
the other Definitive Documents, and/or the transactions contemplated thereby, including any
amendments, waivers, consents, supplements, or other modifications to any of the foregoing.

                [numbering] “UCC Settlement Agreement” means the settlement among the
Debtors, the Committee, the Prepetition Admin Agent and the DIP Agent resolving all Challenges,
whether or not alleged by the Committee or any other party, to the Prepetition Lien Claims and
Prepetition Liens and the DIP Lien Claims and DIP Liens, against the Prepetition Admin Agent
and the Prepetition Secured Lenders, and against the DIP Agent and the DIP Lenders, and each of
their respective Related Parties, in consideration for funding of a gift by the Prepetition Admin
Agent, the DIP Agent, and the Committee Professionals from their collateral or Professional Fee
Claims, as applicable, on the Effective Date of the UCC Settlement Amount, comprising the sum
of (x) 10% of the Committee’s Professional Fee Claims shall be paid or otherwise contributed by
or on behalf of the Committee Professionals into the UCC Settlement Amount plus (y) up to
$215,000 for the ratable benefit of Holders of Allowed Claims in Classes 6 and 8 to be distributed
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on a pro rata basis, and pursuant to which the Committee shall not object to but shall support
confirmation of the Plan. Further, the UCC Settlement Agreement on and following the Effective
Date permits the Committee, at its election and sole expense, to seek to establish a trust to reconcile
Unsecured Claims and make Distributions to Holders of Allowed Claims in Classes 6 and 8 under
the Plan, but not to pursue any Retained Causes of Action or any Causes of Action or Claims
released under the Plan.

              [numbering] “UCC Settlement Amount” means the aggregate amount of $275,000.

        (oooooo) “Unexpired Lease” means a lease to which any of the Debtors is a party that is
subject to assumption or rejection under section 365 of the Bankruptcy Code.

        (pppppp) “Unimpaired” means a Claim or Interest that is unimpaired within the meaning
of section 1124 of the Bankruptcy Code.

      (qqqqqq) “U.S. Trustee” means the Office of the United States Trustee for the District of
Delaware.

       (rrrrrr)   “Vendor Secured Claims” means any Secured Claims held by any of the
Debtor’s vendors.

              (ssssss)      “Voting Deadline” means 4:00 p.m. (prevailing Eastern Time) on September 3,
2024.




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Section 1.02 Rules of Interpretation

         For the purposes of the Plan: (i) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neutral gender shall include the masculine, feminine and neutral gender;
(ii) unless otherwise specified, any reference herein to a contract, lease, instrument, release or other
agreement or document being in a particular form or on particular terms and conditions means that
the referenced document shall be substantially in that form or substantially on those terms and
conditions; (iii) unless otherwise specified, any reference herein to an existing document, schedule
or exhibit having been filed or to be filed shall mean that document, schedule or exhibit, as it may
thereafter be amended, modified or supplemented; (iv) unless otherwise specified, all references
herein to “Sections” and “Articles” are references to Sections and Articles hereof or hereto; (v)
unless otherwise stated, the words “herein,” “hereof” and ‘‘hereto’’ refer to the Plan in its entirety
rather than to a particular portion of the Plan; (vi) captions, headings to Articles and subheadings
to Sections are inserted for convenience of reference only and are not intended to be a part of or to
affect the interpretation hereof; (vii) all references to statutes, regulations, orders, rules of courts
and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases,
unless otherwise stated; (viii) any term used in capitalized form herein that is not otherwise defined
but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned
to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (ix) any
immaterial effectuating provisions may be interpreted by the Debtors or Reorganized Debtors, as
applicable, in a manner that is consistent with the overall purpose and intent of the Plan without
further Bankruptcy Court order; (x) subject to the provisions of any contract, certificate of
incorporation, by-law, instrument, release or other agreement or document created or entered into
in connection with the Plan, the rights and obligations arising pursuant to the Plan shall be
governed by, and construed and enforced in accordance with, the applicable federal law, including
the Bankruptcy Code and Bankruptcy Rules; (xi) unless otherwise specified, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (xii) any reference herein
to the word “including” or any word of similar import shall be read to mean “including without
limitation”; (xiii) the word “or” shall not be exclusive; (xiv) all references to docket numbers of
documents filed in the Chapter 11 Cases are references to the docket numbers under the
Bankruptcy Court’s Case Management/Electronic Case Files system; and (xv) references to
“shareholders,” “directors,” and/or “officers” shall also include “members” and/or “managers,” as
applicable, as such terms are defined under the applicable state limited liability company laws.

Section 1.03 Computation of Time

        The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time
prescribed or allowed herein. If any payment, distribution, act or deadline under the Plan is
required to be made or performed or occurs on a day that is not a Business Day, then the making
of such payment or distribution, the performance of such act, or the occurrence of such deadline
shall be deemed to be on the next succeeding Business Day, but shall be deemed to have been
completed or to have occurred as of the required date.




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Section 1.04 Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Delaware, without giving effect to the principles of conflict of laws, shall govern the rights,
obligations, construction and implementation of the Plan, any agreements, documents, instruments
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in
those agreements, in which case the governing law of such agreement shall control); provided,
however, that governance matters relating to the Debtors or the Reorganized Debtors, as
applicable, shall be governed by the laws of the jurisdiction of incorporation of the Debtors or
Reorganized Debtors, as applicable.

Section 1.05 References to Monetary Figures

      All references in the Plan to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided herein.

Section 1.06 Reference to the Debtors or the Reorganized Debtors

       Except as otherwise specifically provided in the Plan to the contrary, references in the Plan
to the Company, the Debtors or the Reorganized Debtors shall mean the Debtors and the
Reorganized Debtors, as applicable, to the extent the context requires.

Section 1.07 Consent Rights of Consenting Lenders

        Notwithstanding anything herein to the contrary, any and all consent rights of the
Consenting Lenders, and as set forth in the Restructuring Support Agreement (or otherwise) with
respect to the form and substance of the Plan, the Plan Supplement and the other Definitive
Documents, including any amendments, restatements, supplements or other modifications to such
documents, or with respect to any other document, actions or anything else referred to herein, and
any consents, waivers or other deviations under or from any such documents, shall be incorporated
herein by this reference (including to the applicable definitions in Section 1.01 hereof) and fully
enforceable as if stated in full herein. In case of a conflict between the consent or approval rights
of such parties set forth in the Restructuring Support Agreement with the consent rights of such
parties set forth in the Plan, the Plan Supplement, and any other documents contemplated under
the Plan, the consent or approval rights in the Restructuring Support Agreement shall control.

Section 1.08 Controlling Document

        In the event of an inconsistency between the Plan and the Disclosure Statement, the terms
of the Plan shall control in all respects, subject to the consent rights of the Consenting Lenders in
the Restructuring Support Agreement. In the event of an inconsistency between the Plan and the
Plan Supplement, the terms of the relevant document in the Plan Supplement shall control unless
otherwise specified in such Plan Supplement document or the Confirmation Order and subject to
consent rights set forth in the Restructuring Support Agreement. In the event of an inconsistency
between the Plan and any other instrument or document created or executed pursuant to the Plan,

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other than documents contained in the Plan Supplement, the Plan shall control. The provisions of
the Plan and of the Confirmation Order shall be construed in a manner consistent with each other
so as to effectuate the purposes of each; provided, that if there is determined to be any
inconsistency between any provision of the Plan and any provision of the Confirmation Order that
cannot be so reconciled, then, solely to the extent of such inconsistency, the provisions of the
Confirmation Order shall govern, and any such provisions of the Confirmation Order shall be
deemed a modification of the Plan.

                              ARTICLE II
    ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS AND STATUTORY FEES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims and Priority Tax Claims have not been classified and, thus, are excluded
from the Classes of Claims and Interests set forth in Article III, are not entitled to vote on the Plan
and shall receive the following treatment:

Section 2.01 Administrative Claims

        Except to the extent that a Holder of an Allowed Administrative Expense Claim and the
Debtors or Reorganized Debtors, as applicable, agrees to a less favorable treatment, or as otherwise
provided in the Plan, each Holder of an Allowed Administrative Claim against any of the Debtors
shall receive in full and final satisfaction of its Allowed Administrative Claim an amount of Cash
equal to the amount of such Allowed Administrative Claim in accordance with the following: (i)
if an Administrative Claim is Allowed on or prior to the Effective Date, within five (5) Business
Days after the Effective Date, or as soon as reasonably practicable thereafter, (ii) if such
Administrative Claim is not Allowed as of the Effective Date, no later than five (5) Business Days
after such Administrative Claim is Allowed, or as soon as reasonably practicable thereafter; or (iii)
at such time and upon such terms as set forth in an order of the Bankruptcy Code; provided that
Administrative Claims incurred by any Debtor in the ordinary course of such Debtor’s business
may be paid in the ordinary course of business by the Debtors, consistent with past practice and in
accordance with such applicable terms and conditions relating thereto without further notice to or
order of the Bankruptcy Court.

Section 2.02 Professional Fee Claims

                        (a)   Final Fee Application and Payment of Professional Fee Claims

        All requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Confirmation Date must be filed no later than
forty-five (45) days after the Effective Date. The Bankruptcy Court shall determine the Allowed
amounts of such Professional Fee Claims after notice and a hearing in accordance with the
procedures established by the Bankruptcy Court in the Chapter 11 Cases. The Reorganized
Debtors shall pay Professional Fee Claims in Cash in the amount the Bankruptcy Court allows,
including from (but not limited by the estimates provided for in Section 2.02(c)) the Professional
Fee Escrow Account. Any objections to Professional Fee Claims must be filed and served on the


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Debtors and the Reorganized Debtors and the requesting party no later than twenty-one days after
service of the final request for payment of Professional Fee Claims.

                        (b)   Professional Fee Escrow Account

        Prior to the Effective Date, the Reorganized Debtors shall establish and fund the
Professional Fee Escrow Account with Cash equal to the Professional Fee Amount. The
Professional Fee Escrow Account shall be maintained in trust solely for the Professionals. Such
funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors
other than the Reorganized Debtors’ reversionary interest therein. The amount of Professional Fee
Claims owing to the Professionals on and after the Confirmation Date shall be paid in Cash to such
Professionals from funds held in the Professional Fee Escrow Account, without interest or other
earnings therefrom, as soon as reasonably practicable after such Claims are Allowed by a
Bankruptcy Court order. When all Allowed amounts owing to Professionals have been paid in
full, any remaining amount in the Professional Fee Escrow Account shall promptly be paid to the
Reorganized Debtors without any further action or order of the Bankruptcy Court.

                        (c)   Professional Fee Amount Estimates

        Professionals shall reasonably estimate their unpaid Professional Fee Claims and other
unpaid fees and expenses incurred in rendering services to the Debtors before and as of the
Effective Date and shall deliver such estimate to the Debtors no later than one (1) Business Day
before the Effective Date; provided, however, that such estimates shall not be considered an
admission, cap or limitation with respect to the fees and expenses of such Professional and such
Professionals are not bound to any extent by the Estimates. If a Professional does not provide an
estimate, the Debtors or Reorganized Debtors may estimate the unpaid and unbilled fees and
expenses of such Professional; provided, however, that such estimate shall not be binding or
considered an admission with respect to the fees and expenses of such Professional.

                        (d)   Post-Confirmation Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Confirmation
Date, the Debtors shall, in the ordinary course of business and without any further notice to or
action, order or approval of the Bankruptcy Court, pay in Cash the reasonable and documented
legal, professional or other fees and expenses related to implementation of the Plan and
Consummation, incurred by the Debtors or any Professional following the Confirmation Date.
Upon the Confirmation Date, any requirement that Professionals comply with sections 327 through
331, 363 and 1103 of the Bankruptcy Code in seeking retention or compensation for services
rendered after such date shall terminate, and the Debtors may employ and pay any Professional for
services rendered or expenses incurred after the Confirmation Date in the ordinary course of
business without any further notice to or action, order or approval of the Bankruptcy Court.

Section 2.03 Priority Tax Claims

        Except to the extent that a Holder of an Allowed Priority Tax Claim has been paid by the
Debtors before the Effective Date, or the applicable Reorganized Debtor and such Holder agree to
less favorable treatment, in full and final satisfaction, settlement, release and discharge of and in
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exchange for each Allowed Priority Tax Claim, each Holder of an Allowed Priority Tax Claim
shall receive, at the option of the Debtors, one of the following treatments: (i) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim within five (5) Business Days after the
Effective Date; (ii) Cash in an aggregate amount of such Allowed Priority Tax Claim payable in
regular installments over a period not to exceed five (5) years after the Petition Date, pursuant to
section 1129(a)(9)(C) of the Bankruptcy Code; or (iii) such other treatment as may be agreed upon
by such Holder and the Debtors or otherwise determined upon an order of the Bankruptcy Court.

        The Reorganized Debtors shall have the right, in their sole discretion, to pay any Allowed
Priority Tax Claim or any remaining balance of an Allowed Priority Tax Claim (together with
accrued but unpaid interest) in full at any time on or after the Effective Date without premium or
penalty.

Section 2.04 DIP Facility

        On the Effective Date, all Allowed DIP Lien Claims and DIP Superpriority Claims due and
owing under the DIP Facility shall be the subject of the DIP Lien Conversion into Exit Facility
Claims. All property of every kind and nature of the Debtors, except for the GUC Trade Gift and
UCC Settlement Amount, shall vest in the Reorganized Debtors encumbered by the perfected and
enforceable DIP Liens granted and perfected under the DIP Orders, which DIP Liens shall be
assumed by the Reorganized Debtors on the Effective Date and remain perfected by virtue of the
DIP Orders and the Confirmation Order in favor of the Exit Facility administrative agent and
collateral agent, for the benefit of the Exit Facility lenders, without any further notice or possession
or other method of perfection under applicable non-bankruptcy law on the part of the Exit Facility
administrative agent and collateral agent, or Exit Facility lenders.

Section 2.05 Statutory Fees

         All fees due and payable pursuant to section 1930 of Title 28 of the U.S. Code, together
with the statutory rate of interest set forth in section 3717 of Title 31 of the U.S. Code to the extent
applicable (“Quarterly Fees”) prior to the Effective Date shall be paid by the Debtors on the
Effective Date. After the Effective Date, the Debtors and the Reorganized Debtors shall be jointly
and severally liable to pay any and all Quarterly Fees when due and payable. The Debtors shall
file all monthly operating reports due prior to the Effective Date when they become due, using
UST Form 11-MOR. After the Effective Date, each of the Reorganized Debtors shall file with the
Bankruptcy Court separate UST Form 11-PCR reports when they become due. Each and every
one of the Debtors and the Reorganized Debtors shall remain obligated to pay Quarterly Fees to
the Office of the U.S. Trustee until the earliest of that particular Debtor’s case being closed,
dismissed or converted to a case under Chapter 7 of the Bankruptcy Code. The U.S. Trustee shall
not be required to file any Administrative Claim in the case and shall not be treated as providing
any release under the Plan.




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                                      ARTICLE III
                 CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

Section 3.01 Deemed Substantive Consolidation

        The Plan shall serve as a motion by the Debtors seeking entry of a Bankruptcy Court order
deeming the substantive consolidation of the Debtors’ Estates into a single Estate for certain
limited purposes related to the Plan, including voting, Confirmation and distribution. As a result
of the deemed substantive consolidation of the Estates, each Class of Claims and Interests will be
treated as against a single consolidated Estate without regard to the separate legal existence of the
Debtors. The Plan will not result in the merger or otherwise affect the separate legal existence of
each Debtor, other than with respect to voting and distribution rights under the Plan.

Section 3.02 Classification of Claims and Interests

        Except for the Claims addressed in Article II of the Plan, all Claims and Interests are
classified in the Classes set forth below in accordance with sections 1122 and 1123(a)(1) of the
Bankruptcy Code. A Claim or Interest is in a particular Class for the purposes of voting on, and
receiving distributions pursuant to, the Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class, and such Claim or Interest has not been paid,
released, withdrawn or otherwise settled before the Effective Date. A Claim or Interest shall be
deemed classified in a particular Class only to the extent that the Claim or Interest qualifies within
the description of that Class and shall be deemed classified in a different Class to the extent that
any remainder of such Claim or Interest qualifies within the description of such different Class.

Section 3.03 Summary of Classification for the Reorganized Debtors

        The following chart represents the general classification of Claims and Interests for the
Debtors pursuant to the Plan. To the extent there are no Allowed Claims or Allowed Interests in
a particular Class, such Class is deemed to be omitted with respect to the Debtors.

                                                                                      ENTITLED TO
     CLASS                             CLAIM                     IMPAIRMENT
                                                                                         VOTE

          1             Prepetition Lien Claims                    Impaired                Yes

          2             Vendor Secured Claims                     Unimpaired               No
                                                                                    (deemed to accept)

          3             Other Secured Claims                      Unimpaired               No
                                                                                    (deemed to accept)

          4             Other Priority Claims                     Unimpaired               No
                                                                                    (deemed to accept)


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                                                                                               ENTITLED TO
     CLASS                                  CLAIM                        IMPAIRMENT
                                                                                                  VOTE

          5               General Unsecured Trade Claims                   Impaired                 Yes
                                                                                             No, but subject to
          6               Other General Unsecured Claims                   Impaired
                                                                                             UCC Settlement
                                                                                               Agreement
                                                                                             (deemed to reject)
                                                                                                   Yes
          7               Noteholder Claims                                Impaired

          8               Seller Note Claims                               Impaired          No, but subject to
                                                                                             UCC Settlement
                                                                                                Agreement
                                                                                             (deemed to reject)

          9               Convenience Class Claims                         Impaired                 Yes

         10               Intercompany Claims                              Impaired                  No
                                                                                             (deemed to reject)

         11               Intercompany Interests                          Unimpaired                 No
                                                                                            (deemed to accept)

         12               Equity Interests in Optio Rx                     Impaired                 No
                                                                                             (deemed to reject)

Section 3.04 Classification and Treatment of Claims and Interests

        Subject to Section 3.05 to the extent applicable, each Holder of an Allowed Claim or
Allowed Interest, as applicable, shall receive under the Plan the treatment described below in full
and final satisfaction, settlement, release and discharge of and in exchange for such Holder’s
Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the (i)
Reorganized Debtors and, to the extent applicable under the Restructuring Support Agreement, the
Consenting Lenders, and (ii) the Holder of such Allowed Claim or Allowed Interest, as applicable.
Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as applicable,
shall receive such treatment on the Effective Date or as soon as reasonably practicable thereafter
or as soon as practicable after a particular Claim or Interest becomes Allowed.

                        (a)      Class 1 – Prepetition Lien Claims

                              Classification: Class 1 consists of any Prepetition Lien Claims against the Debtors.



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                              Treatment: Except to the extent that a Holder of an Allowed Prepetition Lien Claim
                              agrees to less favorable treatment of its Allowed Claim, in full and final satisfaction,
                              settlement, release, and discharge of and in exchange for each Allowed Prepetition
                              Lien Claim, each such Holder shall receive the following treatment in accordance
                              with the Restructuring Support Agreement and the Plan Term Sheet:

                                        i.    in connection with the Prepetition Lien Conversion, (a) a portion of
                                              the Holder’s respective Prepetition Lien Claims shall constitute
                                              first-priority, perfected, enforceable and unavoidable Exit Facility
                                              Claims in full force and effect, which Exit Facility Claims and Exit
                                              Facility Liens shall be first-priority, enforceable, unavoidable and
                                              automatically perfected by virtue of entry of the Confirmation
                                              Order; provided, however, on the Effective Date, each of the
                                              Holders of the Prepetition Lien Claims shall (i) provide their
                                              proportionate share of the GUC Trade Gift to the holders of allowed
                                              General Unsecured Claims and (ii) provide their proportionate share
                                              of the GUC Opt-In Gift, as applicable; and (b)(i) on the Effective
                                              Date, the Holder shall receive its respective portion of the
                                              Prepetition Lien Conversion Equity, and which shall fully vest and
                                              be entitled to such rights as may be detailed in the New Governance
                                              Documents and which on the Effective Date, except for the equity
                                              shares or units to be issued to the Noteholders pursuant to the Aves
                                              Settlement Agreement, shall constitute all of the issued and
                                              outstanding equity shares or units, subject to the management
                                              incentive plan.

                              Impairment and Voting: Class 1 is Impaired under the Plan, and the Holders thereof
                              are entitled to vote to accept or reject the Plan.

                        (b)       Class 2 – Vendor Secured Claims

                              Classification: Class 2 consists of the Vendor Secured Claims against the Debtors.

                              Treatment: On the Effective Date, each Holder of an Allowed Vendor Secured
                              Claims shall receive, in full satisfaction of such claim, at the election of the
                              Reorganized Debtors: (a) Cash payment in full on the Effective Date, or as soon as
                              reasonably practicable thereafter, in satisfaction of their respective allowed Secured
                              Claims; (b) receive the return of their collateral; or (c) receive such other treatment
                              as the Reorganized Debtors and such vendor agree.

                              Impairment and Voting: Class 2 is Unimpaired under the Plan. Holders of Allowed
                              Claims in Class 2 are conclusively presumed to have accepted the Plan pursuant to
                              section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                              to vote to accept or reject the Plan, and the votes of such Holders will not be
                              solicited with respect to such Claims.

                        (c)       Class 3 – Other Secured Claims
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                              Classification: Class 3 consists of all Other Secured Claims against the Debtors.

                              Treatment: Each Holder of an Allowed Other Secured Claim shall receive Cash on
                              the Effective Date, or as soon as reasonably practicable thereafter, in an amount
                              equal to such Allowed Other Secured Claim.

                              Impairment and Voting: Class 3 is Unimpaired under the Plan. Holders of Allowed
                              Claims in Class 3 are conclusively presumed to have accepted the Plan pursuant to
                              section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                              to vote to accept or reject the Plan, and the votes of such Holders will not be
                              solicited with respect to such Claims.

                        (d)      Class 4 – Other Priority Claims

                              Classification: Class 4 consists of all Other Priority Claims against the Debtors.

                              Treatment: Each Holder of an Allowed Other Priority Claim shall receive Cash on
                              the Effective Date, or as soon as reasonably practicable thereafter, in an amount
                              equal to such Allowed Other Priority Claim.

                              Impairment and Voting: Class 4 is Unimpaired under the Plan. Holders of Allowed
                              Claims in Class 4 are conclusively presumed to have accepted the Plan pursuant to
                              section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                              to vote to accept or reject the Plan, and the votes of such Holders will not be
                              solicited with respect to such Claims.

                        (e)      Class 5 – General Unsecured Trade Claims

                              Classification: Class 5 consists of all General Unsecured Trade Claims against the
                              Debtors.

                              Treatment: The Holders of Allowed General Unsecured Trade Claims are impaired
                              by the Plan and shall, by virtue of the GUC Trade Gift, (x) on the Effective Date,
                              receive [80%-95%] of their respective Allowed General Unsecured Trade Claim
                              and (y) on the one-year anniversary of the Effective Date, receive the remaining
                              [5%-20%] of their respective Allowed General Unsecured Trade Claim.

                              Impairment and Voting: Class 5 General Unsecured Trade Claims are Impaired,
                              and the Holders thereof are entitled to vote to accept or reject the Plan.

                              GUC Opt-In Gift: The Holders of Allowed General Unsecured Trade Claims may
                              also be entitled to receipt of their respective share of the GUC Opt-In Gift to the
                              extent such Holder of an Allowed General Unsecured Trade Claim (i) votes to
                              accept the Plan and (ii) opts-in to the releases in favor of the Released Parties.

                        (f)      Class 6 – Other General Unsecured Claims

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                         Classification: Class 6 consists of Other General Unsecured Claims against the
                         Debtors.

                         Treatment: On the Effective Date, all Other General Unsecured Claims shall
                         receive, by virtue of the gift funding the UCC Settlement Amount under the UCC
                         Settlement Agreement, their respective pro rata share of the UCC Settlement
                         Amount among the Holders of Allowed Claims treated under Classes 6 and 8 of the
                         Plan.

                         Impairment and Voting: Class 6 is Impaired under the Plan. Class 6 votes were
                         not solicited because under the prior version of the Plan Class 6 and Class 8
                         creditors were not to receive a Distribution under the Plan. By virtue of the UCC
                         Settlement Agreement, the UCC Settlement Amount will be Distributed pro rata to
                         Holders of Allowed Claims in Classes 6 and 8. For purposes of seeking
                         Confirmation of the Plan, the Debtors will treat Classes 6 and 8 as rejecting Classes
                         and seek Confirmation under section 1129(b) of the Bankruptcy Code.




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                        (g)      Class 7 – Noteholder Claims

                              Classification: Class 7 consists of Noteholder Claims against the Debtors.

                              Treatment: On the Effective Date, (A) provided Aves and each of the Noteholders
                              votes to accept the Plan, the Noteholders shall receive, all as set forth in the Aves
                              Settlement Agreement, (i) the Cash Consideration, (ii) 1.5% of the common equity
                              in Online Pharmacy Holdings LLC (prior to dilution for any management incentive
                              plan), allocated pro rata to the Noteholders, and (iii) $3,000,000 (subject to the DIP
                              Lender Clawback) in aggregate liquidation preference of junior preferred equity in
                              Online Pharmacy Holdings LLC, allocated pro rata to the Noteholders; or (B) if
                              any of Aves or any Noteholder does not vote to accept the Plan, then Class 7 shall
                              receive no distribution under the Plan and retain no property of any Debtor

                              Impairment and Voting: Class 7 is Impaired under the Plan and the Holders thereof
                              are entitled to vote to accept or reject the Plan.

                        (h)      Class 8 – Seller Note Claims

                              Classification: Class 8 consists of Seller Note Claims against the Debtors.

                              Treatment: On the Effective Date, all Seller Note Claims shall receive, by virtue of
                              the gift funding the UCC Settlement Amount under the UCC Settlement
                              Agreement, their respective pro rata share of the UCC Settlement Amount among
                              the Holders of Allowed Claims treated under Classes 6 and 8 of the Plan.

                              Impairment and Voting: Class 8 votes were not solicited because under the prior
                              version of the Plan Class 6 and Class 8 creditors were not to receive a Distribution
                              under the Plan. By virtue of the UCC Settlement Agreement, the UCC Settlement
                              Amount will be Distributed pro rata to Holders of Allowed Claims in Classes 6 and
                              8. For purposes of seeking Confirmation of the Plan, the Debtors will treat Classes
                              6 and 8 as rejecting Classes and seek Confirmation under section 1129(b) of the
                              Bankruptcy Code.

                        (i)      Class 9 – Convenience Class Claims

                              Classification: Class 9 consists of all Convenience Class Claims against the
                              Debtors.

                              Treatment: The Holders of Allowed Convenience Claims shall, on the later of (i)
                              the Effective Date and (ii) the date that is ten (10) business days after such
                              Convenience Claim becomes an Allowed Claim, in full and final satisfaction of
                              such Claim, receive payment in Cash equal to the lesser of (x) 100% of the Allowed
                              amount of such Convenience Claim and (y) such Holder’s pro rata share of the pool
                              of Convenience Claims.



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                         Impairment and Voting: Class 9 Convenience Class Claims are Impaired, and the
                         Holders thereof are entitled to vote to accept or reject the Plan.




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                        (j)      Class 10 – Intercompany Claims

                              Classification: Class 10 consists of all Intercompany Claims.

                              Treatment: On the Effective Date, all Intercompany Claims shall be cancelled,
                              released, and extinguished without any distribution.

                              Impairment and Voting: Class 10 is Impaired under the Plan. Holders of Claims
                              in Class 10 are conclusively presumed to have rejected the Plan pursuant to section
                              1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                              to accept or reject the Plan, and the votes of such Holders will not be solicited with
                              respect to such Claims.

                        (k)      Class 11 – Intercompany Interests

                              Classification: Class 11 consists of all Intercompany Interests.

                              Treatment: Each Allowed Intercompany Interest shall be, at the option of the
                              applicable Debtor(s), and with the consent of the Consenting Lenders, which
                              consent shall not be unreasonably withheld, either (a) Reinstated or (b) canceled
                              and released.

                              Impairment and Voting: Class 11 is Unimpaired under the Plan. Holders of
                              Allowed Interests in Class 11 are conclusively presumed to have accepted the Plan
                              pursuant to section 1126(f) of the Bankruptcy Code. Therefore, such Holders are
                              not entitled to vote to accept or reject the Plan, and the votes of such Holders will
                              not be solicited with respect to such Interests.

                        (l)      Class 12 – Equity Interests in Optio Rx

                              Classification: Class 12 consists of all Equity Interests in Optio Rx.

                              Treatment: On the Effective Date, all Equity Interests in Optio Rx shall be
                              cancelled, released, and extinguished.

                              Impairment and Voting: Class 12 is Impaired under the Plan. Holders of Claims in
                              Class 12 are conclusively presumed to have rejected the Plan pursuant to section
                              1126(g) of the Bankruptcy Code. Therefore, such Holders are not entitled to vote
                              to accept or reject the Plan, and the votes of such Holders will not be solicited with
                              respect to such Claims.

Section 3.05 Special Provisions Regarding Reinstated Unimpaired Claims

       Except as otherwise provided in the Plan, the Plan Supplement, the Restructuring Support
Agreement or in the Confirmation Order, nothing in the Plan shall affect any, and the Debtors and
the Reorganized Debtors shall retain all, rights regarding legal and equitable defenses,
counterclaims, rights to setoff, and rights to recoupment, if any, as to Unimpaired Claims that are
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Reinstated. Holders of Unimpaired Claims that are Reinstated shall not be required to file a proof
of claim with the Bankruptcy Court and shall retain all their rights under applicable nonbankruptcy
law to pursue their Unimpaired Claims. Notwithstanding anything to the contrary in the Plan,
subject to Article VII, Unimpaired Claims shall not be deemed settled, satisfied, resolved, released,
discharged, barred or enjoined by any provision of the Plan, unless and until such Unimpaired
Claim has been either (a) paid in full (i) on terms agreed to between the Holder of such Unimpaired
Claim and the Debtors or the Reorganized Debtors, as applicable, (ii) in the Allowed amount of
such Unimpaired Claim as determined by applicable law or (iii) in accordance with the terms and
conditions of the applicable documentation or laws giving rise to such Unimpaired Claim or (b)
otherwise satisfied or disposed of as determined by a court of competent jurisdiction. If the
Debtors or the Reorganized Debtors, as applicable, disputes any Unimpaired Claim, such dispute
shall be determined, resolved or adjudicated pursuant to applicable non-bankruptcy law.

Section 3.06 Voting Classes, Presumed Acceptance by Non-Voting Classes

        Pursuant to section 1126(c) of the Bankruptcy Code, and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if the
holders of at least two-thirds in dollar amount and more than one-half in number of the Allowed
Claims in such Class actually voting have voted to accept the Plan. If a Class contains Claims or
Interests eligible to vote and no Holders of Claims or Interests eligible to vote in such Class vote
to accept or reject the Plan, the Holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

Section 3.07 Elimination of Vacant Classes

        Any Class of Claims or Interests that does not have a Holder of a Claim that is Reinstated,
an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed by the
Bankruptcy Court as of the date of the Confirmation Hearing shall be deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance
or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

Section 3.08 Controversy Concerning Impairment

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or
Interests, are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

Section 3.09 Intercompany Interests

        To the extent retained under the Plan, distributions on account of Intercompany Interests
are not being received by Holders of such Intercompany Interests on account of their Intercompany
Interests but solely for administrative convenience and due to the importance of maintaining the
prepetition corporate structure.




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Section 3.10 Subordinated Claims

        The allowance, classification and treatment of all Allowed Claims and Allowed Interests
and the respective distributions and treatments under the Plan take into account and conform to
the relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal and equitable subordination rights relating thereto, whether arising under general
principles of equitable subordination, section 510(b) of the Bankruptcy Code, or otherwise.
Pursuant to Section 510 of the Bankruptcy Code, and subject to the Restructuring Support
Agreement, the Debtors or the Reorganized Debtors, as applicable, reserve the right to re-classify
any Allowed Claim in accordance with any contractual, legal or equitable subordination relating
thereto.

Section 3.11 Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the
             Bankruptcy Code

        The Debtors reserve the right, subject to the prior consent of the Consenting Lenders, to
modify the Plan in accordance with Article IX hereof to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification, including the right to
modify the treatment applicable to a Class of Claims to render such Class of Claims Unimpaired
to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

                                          ARTICLE IV
                             MEANS FOR IMPLEMENTATION OF THE PLAN

Section 4.01 Restructuring Transactions

        On the Effective Date, and pursuant to the Plan, the Debtors or the Reorganized Debtors,
as applicable, shall (as agreed to by the Consenting Lenders consistent with the terms of the
Restructuring Support Agreement) consummate the Restructuring Transactions set forth in the
Plan Term Sheet in order to effectuate the Debtors’ financial reorganization consistent with the
terms of the Plan. Without limiting the foregoing, before, on or as soon as reasonably practicable
after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, and their respective
officers and members of the Governing Body, may take all actions as may be necessary or
appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan that are consistent with and pursuant to the terms and conditions of the Plan,
including: (i) the execution, delivery, filing, registration or recordation of any appropriate
agreements or other documents of merger, consolidation, restructuring, conversion, disposition,
transfer, formation, organization, dissolution, or liquidation containing terms that are consistent
with the terms of the Plan, the Plan Supplement and the Restructuring Support Agreement; (ii) the
execution, delivery, filing, registration or recordation of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on
terms consistent with the terms of the Plan, the Plan Supplement and the Restructuring Support
Agreement and having other terms to which the applicable Entities may agree; (iii) the execution,
delivery and filing, if applicable, of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable state law,
including any applicable New Governance Documents; (iv) such other transactions that are

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required to effectuate the Restructuring Transactions; and (v) all other actions that the applicable
Entities determine to be necessary or appropriate, including making filings or recordings that may
be required by applicable law; provided that all such actions are consented to by the Consenting
Lenders, which consent shall not be unreasonably withheld. Pursuant to sections 363 and 1123 of
the Bankruptcy Code, the Confirmation Order shall be deemed to authorize, among other things,
all actions as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by or necessary to effectuate the Plan. The authorizations and approvals
contemplated by this Section 4.01 shall be effective notwithstanding any requirements under non-
bankruptcy law.

Section 4.02 Sources of Cash for Plan Distributions

       Any Cash payments or distributions required to be made hereunder shall be obtained
from existing Cash of the Debtors and the Exit Facility.

Section 4.03 Exit Facility

         The Exit Facility to be entered into by the applicable Reorganized Debtors on the Effective
Date shall contain, among other things, the following terms: (a) the Exit Facility will not have
scheduled amortization prior to maturity; and (b) the applicable Reorganized Debtors will have the
ability to pay interest on the Exit Facility in kind, solely with respect to the Exit Facility term loans,
as additional loans under the Exit Facility, rather than in cash, based on conditions to be
determined, which additional loans will be on par with the priority of the Exit Facility.

Section 4.04 Junior Preferred Equity

        The junior preferred equity in Online Pharmacy Holdings LLC (the “Preferred Equity”)
shall have the following terms, and otherwise be reasonably acceptable to the Prepetition Secured
Lenders and Aves: (a) junior in right of payment to the junior preferred equity to be received by
the Last Out Holder on the Effective Date, (b) the Preferred Equity will accrue dividends (which
will be payable in kind) at a rate equal to the interest rate applicable to the last out term loans under
the Exit Term Loan, which accrued dividends and additional Preferred Equity will be on par with
the priority of the Preferred Equity, (c) as long as the Preferred Equity is outstanding, Online
Pharmacy Holdings LLC will be subject to (with customary exceptions and other exceptions to be
agreed) (i) limitations on non-arm’s length affiliate transactions, (ii) limitations on adverse or
disproportionate amendments to operating agreement, and (iii) limitations on common equity
dividends and repurchases, (d) the Preferred Equity shall have customary preemptive and tag along
rights, and (e) so long as the Noteholders hold any Preferred Equity, such Noteholders shall have
reasonable reporting and information rights to be agreed.

Section 4.05 Continued Corporate Existence

       Except as otherwise provided in the Plan, the Debtors, as Reorganized Debtors, shall
continue to exist after the Effective Date as separate corporate entities, limited liability companies,
partnerships or other form, with all the powers of a corporation, limited liability company,


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partnership or other form, pursuant to the applicable law in the jurisdiction in which the Debtors
are incorporated or formed pursuant to the New Governance Documents.

Section 4.06 Existing Governance Documents

        On or as soon as reasonably practicable after the Effective Date, subject in each case to the
consent rights of the Consenting Lenders as set forth in the Restructuring Support Agreement, the
Existing Governance Documents of the Debtors in effect prior to the Effective Date shall be
amended or restated and replaced by the New Governance Documents. Solely to the extent
required under the Plan, the Bankruptcy Code, or applicable non-bankruptcy law or necessary to
effectuate the transactions contemplated by the Plan, on or immediately prior to the Effective Date,
the Reorganized Debtors shall file the New Governance Documents (in a manner acceptable to the
Debtors and the Consenting Lenders and consistent with the Restructuring Support Agreement)
with the applicable Secretary of State and/or other applicable authorities in the state of
incorporation or formation or otherwise (as the case may be) in accordance with the applicable
federal laws or state laws of the respective state. The New Governance Documents shall be
deemed to be amended pursuant to the Plan and shall require no further action or approval (other
than any requisite filings required under applicable non-bankruptcy law). The New Governance
Documents shall be in the form filed with the Plan Supplement, shall be as set forth in the
Governance Term Sheet and shall be acceptable in form and substance to the Consenting Lenders.
After the Effective Date, the Reorganized Debtors may amend and restate their New Governance
Documents, as applicable, and may file such documents as permitted by the laws of the respective
states without further authorization from the Bankruptcy Court.

Section 4.07 Members of the Governing Bodies

        As of the Effective Date, and subject to the Restructuring Support Agreement, the existing
members of the Reorganized Debtors’ Governing Bodies shall remain in their current capacities
as members of such Governing Body of the applicable Reorganized Debtor, unless or until
replaced or removed in accordance with the New Governance Documents of the Reorganized
Debtors in the sole discretion of such Reorganized Debtor. To the extent any such officer of the
Reorganized Debtors is an “insider” as defined in section 101(31) of the Bankruptcy Code, the
nature of any compensation to be paid to such trustee and officer shall also be disclosed in the Plan
Supplement.

Section 4.08 Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan, the Restructuring Support Agreement or any
agreement, instrument or other document incorporated therein, on the Effective Date, all property
of the Estates and all Causes of Action of the Debtors (except those released pursuant to the Debtor
Releases) shall vest in the applicable Reorganized Debtor, free and clear of all Liens, Claims,
charges or other encumbrances (except for Liens, if any, granted to secure the Reorganized
Debtors’ obligations under the Plan). On and after the Effective Date, except as otherwise
provided in the Plan, the Reorganized Debtors may operate their businesses and may use, acquire
or dispose of property and compromise or settle any Claims, Interest or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy

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Code or Bankruptcy Rules other than restrictions expressly imposed by the Plan or the
Confirmation order.

Section 4.09 Section 1145 Exemption

        Except with respect to any Person that is an underwriter as defined in section 1145(b) of
the Bankruptcy Code, the offer, issuance, sale or distribution under the Plan of the new preferred
and common equity shares or units of Online Pharmacy Holdings LLC shall be exempt from
registration under Section 5 of the Securities Act (or any State or local law requiring registration
for offer or sale of a security) under section 1145 of the Bankruptcy Code. The offer, issuance,
sale or distribution under the Plan of the new preferred and common equity shares or units of
Online Pharmacy Holdings LLC will be subject to the restrictions on resale of securities held by
Affiliates of an issuer.

Section 4.10 Cancellation and Surrender of Instruments and Agreements

         On the Effective Date, except for the purpose of evidencing a right to and allowing Holders
of Claims and Interests to receive a distribution under the Plan or to the extent otherwise
specifically provided for in the Plan, (i) all rights of any Holder of Interests in the Debtors,
including options or warrants to purchase Interests, or obligating the Debtors to issue, transfer or
sell Interests in the Debtors, shall be cancelled; and (ii) all Seller Notes, Notes and indentures of
the Debtors shall cease to be effective, and Aves Management LLC, as Administrative Agent under
the Note Purchase Agreement shall not have any continuing duties or obligations thereunder and
shall be discharged.

Section 4.11 Corporate Action

        Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized
and approved in all respects, including (i) to the extent undertaken, selection and appointment of
the members of the Governing Body and officers of the Reorganized Debtors; (ii) adoption of or
modification to the Existing Governance Documents, if required; (iii) the assumption or
assumption and assignment, as applicable, of Executory Contracts and Unexpired Leases; (iv)
implementation of the Restructuring Transactions; and (v) all other actions contemplated by the
Plan (whether to occur before, on or after the Effective Date). All matters provided for in the Plan
involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate
action required by the Debtors or the Reorganized Debtors in connection with the Plan (including
the grant of security interests set forth in the Plan) shall be deemed to have occurred and shall be
in effect, without any requirement of further action by the security holders, the members of the
Governing Body or officers of the Debtors or the Reorganized Debtors. On or (as applicable) prior
to the Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors, as
applicable, shall be authorized and (as applicable) directed to issue, execute and deliver the
agreements, documents, securities, and instruments contemplated under the Plan (or necessary or
desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of
the Reorganized Debtors. The authorizations and approvals contemplated by this Section 4.11
shall be effective notwithstanding any requirements under nonbankruptcy law.


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Section 4.12 Section 1146 Exemption from Certain Taxes and Fees

        To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers
(whether from the Debtors to the Reorganized Debtors or to any other Person) of property under
the Plan or pursuant to: (i) the issuance, reinstatement, distribution, transfer or exchange of any
debt, Equity Security, or other interest in the Debtors or the Reorganized Debtors; (ii) the
Restructuring Transactions; (iii) the creation, modification, consolidation, assumption,
termination, refinancing and/or recording of any mortgage, deed of trust, or other security interest
or the securing of additional indebtedness by such or other means; (iv) the making, assignment or
recording of any lease or sublease; or (v) the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds,
bills of sale, assignments or other instrument of transfer executed in connection with any
transaction arising out of, contemplated by or in any way related to the Plan, shall not be subject
to any stamp tax or similar tax, and upon entry of the Confirmation Order, the appropriate state or
local governmental officials or agents shall forego the collection of any such tax, recordation fee
or governmental assessment and accept for filing and recordation any of the foregoing instruments
or other documents without the payment of any such tax, recordation fee or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146 of the Bankruptcy Code, shall forego the collection of any such tax or governmental
assessment and shall accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

Section 4.13 Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such Causes
of Action have been expressly released (including, for the avoidance of doubt, pursuant to the
Debtor Releases provided in Section 7.02 hereof), each of the Reorganized Debtors shall retain
and may enforce all rights to commence and pursue, as appropriate, any and all Causes of Action,
whether arising before or after the Petition Date, and each of the Reorganized Debtors’ rights to
commence, prosecute or settle such Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date, other than the Causes of Action released by the Debtors pursuant
to the releases and exculpations contained in the Plan, including in Article VII of the Plan, which
shall be deemed released and waived by the Debtors and Reorganized Debtors as of the Effective
Date. Each of the Reorganized Debtors may pursue such Causes of Action, as appropriate, in
accordance with the best interests of such Reorganized Debtor. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement or the Disclosure Statement
to any Cause of Action against them as any indication that any of the Debtors or Reorganized
Debtors, as applicable, will not pursue any and all available Causes of Action against them.
Except with respect to Causes of Action as to which any of the Debtors or Reorganized
Debtors have released any Person or Entity on or before the Effective Date (including
pursuant to the Debtor Releases), each of the Debtors or Reorganized Debtors, as applicable,
expressly reserve all rights to prosecute any and all Causes of Action against any Entity,
except as otherwise expressly provided in the Plan. Unless any Causes of Action against an
Entity are expressly waived, relinquished, exculpated, released, compromised or settled in the Plan
or a Bankruptcy Court order, each of the Reorganized Debtors expressly reserves all Causes of

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Action for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or
otherwise) or laches, shall apply to such Causes of Action as a consequence of the Confirmation
or Consummation. Each of the Reorganized Debtors shall have the exclusive right, authority and
discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw or litigate to judgment any such Causes of Action and to decline to do any of
the foregoing without the consent or approval of any third party or further notice to or action, order
or approval of the Bankruptcy Court. Notwithstanding anything in the Plan to the contrary, any
and all Challenges (including without limitation as to Rinku Patel and Skin Medicinals LLC) and
all challenges, Causes of Action and Claims, including, without limitation, challenges, Causes of
Action and Claims asserted or assertable against the Prepetition Admin Agent, the Prepetition
Secured Lenders, the DIP Agent and the DIP lenders, or the Related Parties of the foregoing,
whenever arising, whether in contract, tort, law or equity or mixed, directly or derivatively, are
expressly released, compromised and settled pursuant to this Plan and/or as part of the UCC
Settlement Agreement effective on the Effective Date.

Section 4.14 Single Satisfaction of Claims

        Holders of Allowed Claims may assert such Claims against the Debtors and such Claims
shall be entitled to share in the recovery provided for the applicable Class of Claims against the
Debtors based upon the full Allowed amount of the Claim. Notwithstanding the foregoing, in no
case shall the aggregate value of all property received or retained under the Plan on account of
Allowed Claims exceed 100% of the underlying Allowed Claim plus applicable interest.

                                 ARTICLE V
            TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Section 5.01 Assumption of Executory Contracts and Unexpired Leases

        Except as otherwise provided in the Plan, or in any contract, instrument, release, indenture
or other agreement or document entered into in connection with the Plan, each of the Debtors’
Executory Contracts and Unexpired Leases shall be deemed assumed (or assumed and assigned to
the respective Reorganized Debtor, as applicable) pursuant to sections 365(a) and 1123 of the
Bankruptcy Code as of the Effective Date, unless such Executory Contract or Unexpired Lease:
(i) was previously assumed or rejected by a Debtor, pursuant to a Final Order of the Bankruptcy
Court; (ii) previously expired or terminated pursuant to its own terms; (iii) is the subject of a
motion to reject filed on or before the Effective Date; or (iv) is identified on the Rejected Executory
Contract and Unexpired Lease List. Entry of the Confirmation Order shall constitute a Bankruptcy
Court order approving the assumptions, assumptions and assignments, or rejections of such
Executory Contracts or Unexpired Leases as set forth in the Plan and the Rejected Executory
Contract and Unexpired Lease List, as applicable, pursuant to sections 365(a) and 1123 of the
Bankruptcy Code. Unless otherwise indicated, all assumptions or assumptions and assignments
of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of the Effective
Date, provided, however, no Seller Note shall be assumed. Each Executory Contract or Unexpired
Lease assumed pursuant to the Plan or by Bankruptcy Court order but not assigned to a third party
on or before the Effective Date shall re-vest in and be fully enforceable by the Reorganized Debtors

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in accordance with its terms, except as such terms may have been modified by such order or the
provisions of the Plan. All assumed Executory Contracts or Unexpired Leases shall be enforceable
by the Reorganized Debtors or such party such Executory Contract or Unexpired Lease was
assigned to in accordance with their terms notwithstanding any provision in such contract or lease
that prohibits, restricts or conditions assumption, assignment or transfer. Any provision in any
such contract or lease that permits a Person to terminate or modify such agreement or to otherwise
modify the rights of any of the Debtors or the Reorganized Debtors or assignee, as applicable,
based on the filing of the Chapter 11 Cases or the financial condition of any of the Debtors or the
Reorganized Debtors, as applicable, shall be unenforceable. To the extent any provision in any
Executory Contract or Unexpired Lease assumed, or assumed and assigned, pursuant to the Plan
(including any “change of control” provision) restricts or prevents, or purports to restrict or
prevent, or is breached or deemed breached by, any of the Debtors’ assumption, or assumption and
assignment, of such Executory Contract or Unexpired Lease, then such provision will be deemed
modified such that the transactions contemplated by the Plan will not entitle the non-Debtor party
or parties thereto to terminate such Executory Contract or Unexpired Lease or to exercise any other
default-related rights with respect thereto. After the Effective Date, each of the Reorganized
Debtors shall have the right to terminate, amend or modify any contracts, including intercompany
contracts, leases or other agreements without approval of the Bankruptcy Court. Notwithstanding
anything to the contrary in the Plan, the Debtors, or the Reorganized Debtors, as applicable, reserve
the right to alter, amend, modify, or supplement the Rejected Executory Contract and Unexpired
Lease List at any time through and including ninety days after the Effective Date.

Section 5.02 Claims Based on Rejection of Executory Contracts or Unexpired Leases

        Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the
rejections, if any, of any Executory Contracts or Unexpired Leases as provided for in the Plan or
the Rejected Executory Contract and Unexpired Lease List, as applicable. Unless otherwise
provided by a Final Order of the Bankruptcy Court, all proofs of claim with respect to Claims
arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be filed with the Solicitation Agent and served on the
Reorganized Debtors no later than thirty days after the effective date of such rejection.

        Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not
filed with the Solicitation Agent within such time shall not be enforceable against the Debtors, the
Reorganized Debtors, the Estates, or their property, without the need for any objection by the
Debtors or Reorganized Debtors, or further notice to, action, order, or approval of the Bankruptcy
Court or any other Entity, and any Claim arising out of the rejection of the Executory Contract or
Unexpired Lease shall be deemed fully satisfied, released, and discharged, and be subject to the
permanent injunction set forth in Section 7.06 of the Plan, notwithstanding anything in a proof of
claim to the contrary.

       All Claims arising from the rejection by any Debtor of any Executory Contract or
Unexpired Lease pursuant to section 365 of the Bankruptcy Code shall be treated as a General
Unsecured Claim pursuant to Section 3.04 of the Plan and may be objected to in accordance with
the provisions of the Plan and the applicable provisions of the Bankruptcy Code and Bankruptcy
Rules.

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Section 5.03 Cure of Defaults and Objections to Cure Amounts and Assumption for
             Executory Contracts and Unexpired Leases Assumed

        Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed
(or assumed and assigned to the respective Reorganized Debtor, as applicable) pursuant to the Plan
shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash upon the Effective Date or in the ordinary course of business, subject to the
limitation described below, or on such other terms as the parties to such Executory Contracts or
Unexpired Leases may otherwise agree. The Debtors shall provide notices of proposed cure
amounts (if any) to counterparties to Executory Contracts and Unexpired Leases to be assumed
reflecting the Debtors’ intention to assume or assume and assign the Executory Contract or
Unexpired Lease in connection with the Plan and setting forth the proposed cure amount (if any)
or the Reorganized Debtors’ ability to provide “adequate assurance of future performance
thereunder” (within the meaning of section 365 of the Bankruptcy Code). If a counterparty to any
Executory Contract or Unexpired Lease that the Debtors or Reorganized Debtors intend to assume
does not receive such a notice, the proposed cure amount for such executory contract or unexpired
lease shall be deemed to be zero dollars ($0), subject to such counterparties’ rights to dispute such
proposed cure amount. In the event of a dispute regarding (i) the amount of any payments to cure
such a default, (ii) the ability of the Reorganized Debtors or any assignee to provide “adequate
assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the Executory Contract or Unexpired Lease to be assumed or (iii) any other matter pertaining
to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be
made following the entry of a Final Order or orders resolving the dispute and approving the
assumption. The cure notices shall include procedures for objecting to proposed assumptions of
Executory Contracts and Unexpired Leases and any amounts of Cure Claims to be paid in
connection therewith and resolution of disputes by the Bankruptcy Court. Any objection by a
counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or related
cure amount must be filed, served and actually received by counsel to the Debtors on the
confirmation objection deadline or other deadline that may be set by the Bankruptcy Court. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption or cure amount will be deemed to have assented to such assumption or cure
amount. Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time before the effective date of the assumption.
Any proof of claim filed with respect to an Executory Contract or Unexpired Lease that is assumed
shall be deemed disallowed and expunged, without further notice to or action, order or approval
of the Bankruptcy Court.

         The payment of the cure amount shall be made following the entry of a Final Order or
orders resolving the dispute and approving the assumption in the event of a dispute regarding:
(i) the amount of any payments to cure such a default; (ii) the ability of the Reorganized Debtors
or any assignee to provide adequate assurance of future performance under the Executory Contract
or Unexpired Lease to be assumed; or (iii) any other matter pertaining to assumption.

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        The Debtor or the Reorganized Debtor, as applicable, shall be authorized to reject any
executory contract or unexpired lease to the extent the Debtor or the Reorganized Debtor, as
applicable, in the exercise of its sound business judgment, concludes that the amount of the Cure
obligation as determined by Final Order or as otherwise finally resolved, renders assumption of
such contract or lease unfavorable to the applicable Debtor’s Estate or the Reorganized Debtor.
Such rejected contracts, if any, shall be deemed as listed on the Rejected Executory Contract and
Unexpired Lease List.

Section 5.04 Modifications, Amendments, Supplements, Restatements or Other
             Agreements

        Unless otherwise provided in the Plan or specifically provided in the Plan Supplement,
each Executory Contract or Unexpired Lease that is assumed shall include all modifications,
amendments, supplements, restatements or other agreements that in any manner affect such
Executory Contract or Unexpired Lease, and all Executory Contracts and Unexpired Leases related
thereto, if any, including all easements, licenses, permits, rights, privileges, immunities, options,
rights of first refusal and any other interests, unless any of the foregoing agreements has been
previously rejected or repudiated or is rejected or repudiated under the Plan. Modifications,
amendments, supplements and restatements to prepetition Executory Contracts and Unexpired
Leases that have been executed by any of the Debtors during the Chapter 11 Cases shall not be
deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority or amount of any Claims that may arise in connection therewith.

Section 5.05 Reservation of Rights

        Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the
Rejected Executory Contract and Unexpired Lease List, nor anything contained in the Plan or Plan
Supplement shall constitute an admission by the Debtors that any such contract or lease is in fact
an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the relevant Debtor or Reorganized Debtor, as
applicable, shall have thirty (30) calendar days following entry of a Final Order resolving such
dispute to alter their treatment of such contract or lease, including by rejecting such contract or
lease nunc pro tunc to the Confirmation Date. The deemed assumption provided for herein shall
not apply to any such contract or lease, and any such contract or lease shall be assumed or rejected
only upon motion of the Debtors following the Bankruptcy Court’s determination that the contract
is executory or the lease is unexpired.

Section 5.06 Contracts and Leases Entered Into After the Petition Date

        Contracts and leases entered into after the Petition Date by any of the Debtors, including
any Executory Contracts and Unexpired Leases assumed by any Debtor (or assumed and assigned,
as applicable), will be performed by such Debtor or Reorganized Debtor, or the Entity to which
such Executory Contract or Unexpired Lease was assigned, as applicable, in the ordinary course
of its business. Accordingly, such contracts and leases (including any assumed Executory

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Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation
Order except as otherwise provided in the Plan.

Section 5.07 Assumption of Insurance Policies

        Notwithstanding anything in the Plan or the Confirmation Order, including any provision
that purports to be preemptory or supervening, the Insurance Policies (including all of the D&O
Liability Insurance Policies) are hereby treated as Executory Contracts under the Plan and, on the
Effective Date, shall be deemed assumed (and assigned to the Reorganized Debtors) under section
365 of the Bankruptcy Code and will re-vest in the Reorganized Debtors. Regardless of whether
any Insurance Policy is an Executory Contract, on and after the Effective Date, the Insurance
Policies will remain valid and enforceable in accordance with their terms and shall not be impaired
by the Plan or Confirmation Order, and the Debtors, the Reorganized Debtors or any such assignee,
as applicable, and the Insurers will perform their respective obligations to one another, if any,
under the Insurance Policies. After the Effective Date, to the extent consistent with applicable law
and New Governance Documents, the Reorganized Debtors (or any such assignee) may increase,
reduce, restrict, or otherwise modify, in their sole discretion, the coverage under any D&O
Liability Insurance Policy (including such tail coverage liability insurance) in effect as of the
Effective Date, and all members, managers, directors, and officers of each of the Debtors who
served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits
of any such policy for the full term of such policy (and all tail coverage related thereto) regardless
of whether such members, managers, directors, and/or officers remain in such positions after the
Effective Date.

         Nothing in the Plan, the Plan Supplement, the Disclosure Statement, the Confirmation
Order, or any other order of the Bankruptcy Court (including any other provision that purports to
be preemptory or supervening), (1) alters, modifies, or otherwise amends the terms and conditions
of (or the coverage provided by) any of such insurance policies or (2) alters or modifies the duty,
if any, that the insurers or third party administrators pay claims covered by such insurance policies
and their right to seek payment or reimbursement from the Debtors (or after the Effective Date,
the Reorganized Debtors) or draw on any collateral or security therefor. For the avoidance of
doubt, insurers and third-party administrators shall not need to nor be required to file or serve a
cure objection or a request, application, claim, proof of claim, or motion for payment and shall not
be subject to any claims bar date or similar deadline governing cure amounts or Claims.

Section 5.08 Assumption of the Employee Compensation and Benefits Program

        Unless otherwise provided in the Plan (or the Plan Supplement), the Confirmation Order
or any other order of the Bankruptcy Court in the Chapter 11 Cases, all employment agreements,
severance policies, indemnification agreements, compensation and benefit plans, policies, and
programs of the Company including, without limitation, all workers’ compensation programs,
savings plans, retirement plans, deferred compensation plans, SERP plans, rabbi trusts, healthcare
plans, disability plans, severance benefit plans, incentive plans, life and accidental death and
dismemberment insurance plans or other agreements with or applicable to any of its current or
former employees, retirees, members of any Governing Body, officers or managers of the Debtors
shall be treated as Executory Contracts under the Plan, shall be set forth in the Plan Supplement,

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and shall be deemed assumed (or assumed and assigned to the respective Reorganized Debtors, as
applicable) pursuant to section 365(a) of the Bankruptcy Code as of the Effective Date. For the
avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and after the
Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable law.

Section 5.09 Indemnification Obligations

        Consistent with applicable law, all indemnification provisions in place as of the Effective
Date for the Released Parties only (whether in the by-laws, trust agreements, certificates of
incorporation or formation, limited liability company agreements, limited partnership agreements,
other governance documents, board resolutions, indemnification agreements, employment
contracts or otherwise) for the current and former members of any Governing Body, directors,
officers, managers, employees, attorneys, accountants, investment bankers and other professionals
of, or acting on behalf of, any of the Debtors, as applicable, shall be reinstated and remain intact,
irrevocable, and shall survive the Effective Date on terms no less favorable to such current and
former members of any Governing Body, directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of, or acting on behalf of, any of the
Debtors than the indemnification provisions in place prior to the Effective Date.

Section 5.10 Nonoccurrence of Effective Date

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain
jurisdiction with respect to any request to extend the deadline for assuming or rejecting Unexpired
Leases, if any, pursuant to section 365(d)(4) of the Bankruptcy Code.

                                           ARTICLE VI
                               PROVISIONS GOVERNING DISTRIBUTIONS

Section 6.01 Record Date for Distributions

        With respect to Impaired Claims, on the Distribution Record Date, the Claims Register and
the various transfer registers for each of the Classes of Claims, as maintained by the Debtors or
their agents, shall be deemed closed, and there shall be no further changes made to reflect any new
record holders of any Claims. The Debtors shall have no obligation to recognize any transfer of
Claims occurring on or after the Distribution Record Date.

Section 6.02 Timing of Distributions

        Except as otherwise provided in the Plan, on the Effective Date (or if a Claim or Interest is
not an Allowed Claim or Interest on the Effective Date, on the date that such a Claim or Interest
becomes an Allowed Claim or Interest, or as soon as reasonably practicable thereafter), each
Holder of an Allowed Claim against or an Allowed Interest in the Debtors shall receive the full
amount of the distributions that the Plan provides for such an Allowed Claim or such an Allowed
Interest in the applicable Class and in the manner provided herein. In the event that any payment
or act under the Plan is required to be made or performed on a date that is not a Business Day, then

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the making of such payment or the performance of such act may be completed on the next
succeeding Business Day but shall be deemed to have been completed as of the required date.
Except as otherwise provided herein, Holders of Claims shall not be entitled to interest, dividends
or accruals on the distributions provided for herein, regardless of whether such distributions are
delivered on or at any time after the Effective Date.

Section 6.03 Disbursing Agent

        The Debtors or Reorganized Debtors may retain a Disbursing Agent (or the Committee
may elect to establish a trust and appoint a trustee at its election and sole cost with respect to
Distributions to creditors asserting Claims under Classes 6 and 8 of the Plan) to assist with the
distributions to be made under the Plan as directed by the Debtors or Reorganized Debtors. The
Disbursing Agent shall make all distributions required under the Plan.

                        (a)   Powers of the Disbursing Agent

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent
by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to
be necessary and proper to implement the provisions hereof.

                        (b)   Expenses Incurred On or After the Effective Date

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees
and out of pocket expenses incurred by the Disbursing Agent on or after the Effective Date
(including taxes) and any reasonable compensation and out of pocket expense reimbursement
claims (including reasonable, actual, and documented attorney and/or other professional fees and
expenses) made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors. The
Disbursing Agents shall submit detailed invoices to the Debtors or the Reorganized Debtors, as
applicable, for all fees and expenses for which the Disbursing Agent seeks reimbursement, and the
Debtors or the Reorganized Debtors, as applicable, shall pay those amounts that they deem
reasonable, and shall object in writing to those fees and expenses, if any, that the Debtors or the
Reorganized Debtors, as applicable, deem to be unreasonable. In the event that the Debtors or the
Reorganized Debtors, as applicable, object to all or any portion of the amounts requested to be
reimbursed in a Disbursing Agent’s invoice, the Debtors or the Reorganized Debtors, as
applicable, and such Disbursing Agent shall endeavor, in good faith, to reach mutual agreement
on the amount of the appropriate payment of such disputed fees and/or expenses. In the event that
the Debtors or the Reorganized Debtors, as applicable, and a Disbursing Agent are unable to
resolve any differences regarding disputed fees or expenses, either party shall be authorized to
move to have such dispute heard by the Bankruptcy Court.

Section 6.04 Delivery of Distributions and Undeliverable or Unclaimed Distributions

      Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims or
Allowed Interests shall be made to Holders of record as of the Distribution Record Date by the
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Disbursing Agent: (i) to the signatory set forth on any proof of claim or proof of interest filed by
such Holder or other representative identified therein (or at the last known addresses of such
Holder if no proof of claim or proof of interest is filed or if the Debtors have not been notified in
writing of a change of address); (ii) at the addresses set forth in any written notices of address
changes delivered to the Reorganized Debtors or the applicable Disbursing Agent, as appropriate,
after the date of any related proof of claim or proof of interest; or (iii) on any counsel that has
appeared in the Chapter 11 Cases on the Holder’s behalf. Distributions under the Plan on account
of Allowed Claims and Allowed Interests shall not be subject to levy, garnishment, attachment or
like legal process, so that each Holder of an Allowed Claim or Interest shall have and receive the
benefit of the distributions in the manner set forth in the Plan. None of the Debtors, the
Reorganized Debtors and the applicable Disbursing Agent shall incur any liability whatsoever on
account of any distributions under the Plan except for fraud, gross negligence, or willful
misconduct.

Section 6.05 Fractional Distributions

        Whenever any payment of a fraction pursuant to the Plan would otherwise be required, the
actual payment shall reflect a rounding of such fraction to the nearest whole share (up or down),
with half or less being rounded down. Whenever any payment of Cash of a fraction of a dollar
pursuant to the Plan would otherwise be required, the actual payment shall reflect a rounding of
such fraction to the nearest whole dollar (up or down), with half dollars or less being rounded
down.

Section 6.06 Undeliverable Distributions and Unclaimed Property

          In the event that any distribution to any Holder of Claim or Interest is returned as
undeliverable, no distribution to such Holder shall be made unless and until the Disbursing Agent
has determined the then current address of such Holder, at which time such distribution shall be
made as soon as practicable after such distribution has become deliverable or has been claimed to
such Holder without interest; provided, however, that such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the expiration of
six months from the applicable Distribution Date. After such date, all “unclaimed property” or
interests in property shall revert to the Reorganized Debtors (notwithstanding any applicable
federal or state escheat, abandoned or unclaimed property laws to the contrary), and the Claim of
any Holder to such property or Interest in property shall be discharged and forever barred.
Notwithstanding the foregoing under of the Plan, any Unimpaired Claims shall not be deemed
settled, satisfied, resolved, released, discharged, barred or enjoined by any provision of the Plan,
unless and until such Unimpaired Claim has been either (a) paid in full (i) on terms agreed to
between the holder of such Unimpaired Claim and the Debtors or the Reorganized Debtors, as
applicable, (ii) in the Allowed amount of such Unimpaired Claim as determined by applicable law
or (iii) in accordance with the terms and conditions of the applicable documentation or laws giving
rise to such Unimpaired Claim or (b) otherwise satisfied or disposed of as determined by a court
of competent jurisdiction. If the Debtors or the Reorganized Debtors dispute any Unimpaired
Claim, such dispute shall be determined, resolved or adjudicated pursuant to applicable non-
bankruptcy law.


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Section 6.07 Manner of Payment

      At the option of the Disbursing Agent, any Cash payment to be made under the Plan may
be made by check or wire transfer or as otherwise required or provided in applicable agreements

Section 6.08 Compliance with Tax Requirements and Allocations

        In connection with the Plan and all instruments issued in connection therewith, to the extent
applicable, the Reorganized Debtors and the Disbursing Agent shall comply with all tax
withholding and reporting requirements imposed on them by any federal, state or local taxing
authority, and all distributions pursuant to the Plan shall be subject to such withholding and
reporting requirements. Notwithstanding any provision in the Plan to the contrary, the
Reorganized Debtors and the Disbursing Agent shall be authorized to take all actions necessary or
appropriate to comply with such withholding and reporting requirements, including liquidating a
portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate
such distributions, or establishing any other mechanisms they determine in good faith are
reasonable and appropriate. The Reorganized Debtors reserve the right, in their sole discretion, to
allocate all distributions made under the Plan in compliance with all applicable wage garnishments,
alimony, child support, other spousal awards, Liens, and encumbrances. For the avoidance of
doubt, any amounts withheld pursuant to this Section 6.08 shall be treated as if distributed to the
Holder of the Allowed Claim.

        Any Holder of an Impaired Claim entitled to receive any property as an issuance or
distribution under the Plan shall, upon request by the Disbursing Agent, provide an appropriate
Form W-9 or (if the payee is a foreign Person) Form W-8. If such request is made and such Holder
of an Impaired Claim fails to comply before the date that is 180 days after the request is made, the
amount of such distribution shall irrevocably revert to the Debtors or the Reorganized Debtors, as
applicable, and any Claim in respect of such distribution shall be discharged and forever barred
from assertion against the Debtors, the Reorganized Debtors and their respective property.

Section 6.09 Allocation Between Principal and Interest

        Except as otherwise provided in the Plan, for U.S. federal income tax purposes,
distributions shall be allocated first to the principal amount of such Allowed Claims (as determined
for U.S. federal income tax purposes), with any excess allocated to unpaid interest that accrued on
such Claims.

Section 6.10 Setoffs and Recoupment

        Except as otherwise provided in the Plan and Confirmation Order, the Debtors and the
Reorganized Debtors may, pursuant to the Bankruptcy Code (including section 553 of the
Bankruptcy Code), applicable non-bankruptcy law, or as may be agreed to by the Holder of a
Claim, withhold (but not set off except as set forth in the Plan) from the distributions called for
under the Plan on account of any Allowed Claim an amount equal to any claims, equity interests,
rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors may hold

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against the Holder of any such Allowed Claim or Interest. In the event that any such claims, equity
interests, rights and Causes of Action of any nature that the Debtors or the Reorganized Debtors
may hold against the holder of any such Allowed Claim or Interest are adjudicated by Final Order
or otherwise resolved, the Debtors may, pursuant to section 553 of the Bankruptcy Code or
applicable non-bankruptcy law, set off against any Allowed Claim or Interest and the distributions
to be made pursuant hereto on account of such Allowed Claim (before any distribution is made on
account of such Allowed Claim or Interest) the amount of any adjudicated or resolved claims,
equity interests, rights and Causes of Action of any nature that any of the Debtors or the
Reorganized Debtors may hold against the Holder of any such Allowed Claim or Interest, but only
to the extent of such adjudicated or resolved amount. Neither the failure to effect such a setoff nor
the allowance of any Claim under the Plan shall constitute a waiver or release by the Debtors or
the Reorganized Debtors of any such claims, equity interests, rights and Causes of Action that the
Debtors or the Reorganized Debtors may possess against any such holder, except as specifically
provided herein.

Section 6.11 No Postpetition or Default Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, or
required by applicable bankruptcy or non-bankruptcy law, postpetition and/or default interest shall
not accrue or be paid on any prepetition Claims against any of the Debtors, and no Holder of a
prepetition Claim against any of the Debtors shall be entitled to interest accruing on or after the
Petition Date or interest at the contract default rate on any such prepetition Claim.

                                    ARTICLE VII
              SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

Section 7.01 General Compromise and Settlement of Claims, Interests and Controversies

        As discussed in detail in the Disclosure Statement and as otherwise provided herein, in
consideration for the classification, distributions, releases and other benefits provided pursuant to
the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good faith resolution
of all Claims, Interests and controversies relating to the contractual, legal and subordination rights
that a Holder of a Claim or Interest may have with respect to any Allowed Claim or Interest, or
any distribution to be made or treatment provided on account of such Allowed Claim or Interest.

        The entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the resolution of all such Claims, Interests and controversies, as well as a finding by the Bankruptcy
Court that such resolution is in the best interests of the Debtors, their Estates and Holders of Claims
and Interests and is fair, equitable and reasonable. Subject to Article VI hereof, all treatment of
Holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to be
and shall be final.

        In accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019(a),
without any further notice to or action, order or approval of the Bankruptcy Court, after the
Effective Date, the Reorganized Debtors may compromise and settle Claims against and Interests
in or against any of the Debtors and their Estate and Causes of Action against other Entities.

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Section 7.02 Releases by the Debtor

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, in addition to other provisions of the Plan or Orders of the Court granting or
providing for releases of Claims, and not in any way diminishing any such releases, effective
as of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code, for good and
valuable consideration provided by each of the Released Parties, the adequacy of which is
hereby confirmed, on and after the Effective Date, each Released Party is, and is deemed to
be, hereby conclusively, absolutely, unconditionally, irrevocably and forever released and
discharged by each of the Debtors, the Reorganized Debtors and their Estates, including any
successors to the Debtors or any estates representatives appointed or selected pursuant to
section 1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves and their
respective successors, assigns and representatives, and any and all other Entities who may
purport to assert any Cause of Action, directly or derivatively, by, through, for or because
of the foregoing Entities, from any and all Causes of Action, including any derivative claims,
asserted on behalf of the Debtors, whether known or unknown, foreseen or unforeseen,
matured or unmatured, in law, equity, contract, tort or otherwise, that any of the Debtors,
the Reorganized Debtors or their Estates would have been legally entitled to assert in its own
right (whether individually or collectively) or on behalf of a Holder of any Claim against, or
Interest in, the Debtors or other Entity, based on or relating to or in any manner arising
from, in whole or in part, the Debtors (including the Debtors’ capital structure, management,
ownership or operation thereof), purchase, sale, or rescission of any security of the Debtors
or the Reorganized Debtors, the subject matter of, or the transactions or events giving rise
to, any Claim or Interest that is treated in the Plan, the business or contractual arrangements
between any Debtor and any Released Party, the assertion or enforcement of rights and
remedies against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any
Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or defenses
to Claims asserted against any of the Debtors), intercompany transactions between or among
a Debtor or an Affiliate of a Debtor and another Debtor or Affiliate of a Debtor, the Chapter
11 Cases, the formulation, preparation, dissemination, negotiation, entry into, or filing of the
Restructuring Support Agreement and related prepetition transactions, any Definitive
Document, the Disclosure Statement, the New Governance Documents, the Plan (including,
for the avoidance of doubt, the Plan Supplement), or any Restructuring Transactions,
contract, instrument, release or other agreement or document created or entered into in
connection with the Restructuring Support Agreement, the New Governance Documents, the
Disclosure Statement, the Exit Facility, the Plan Supplement, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the issuance or distribution of the new preferred and
common equity shares or units of Online Pharmacy Holdings LLC pursuant to the Plan, to
the extent applicable, or the distribution of property under the Plan or any other related
agreement, or upon any other act or omission, transaction, agreement, event or other
occurrence related or relating to any of the foregoing, in each case taking place on or before
the Effective Date. For the avoidance of doubt, the following individuals are not, and shall
not be deemed to be, Released Parties: (i) Greg Savino, (ii) Jordana Siegel, (iii) Rinku Patel,
(iv) Crestview City Pharmacy, Inc., (v) Jennifer Reshay Densman, (vi) Chistopher Neil

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Densman, (vii) Bryan Henderson, (viii) Amanda Davey, (ix) Claudia Barnett, (x) Kari
Waites, (xi) Victoria Ballard, (xii) Morgan Meeks, (xiii) Kyndall Barber, (xiv) Ellen Stafford,
(xv) Sergio Zepeda, (xvi) Cold Bore Capital Management, LLC, and (xvii) Marc Wank.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date or (ii) the rights of any of the
Debtors with respect to any confidentiality provisions or covenants restricting competition
in favor of any of the Debtors under any employment agreement with a current or former
employee of any the Debtors, or any seller of business assets or equity in any Debtor, subject
to applicable nonbankruptcy law.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the Debtor Releases, which include by reference each of the related provisions and
definitions contained in the Plan, and further shall constitute the Bankruptcy Court’s finding
that the Debtor Releases are: (i) in exchange for the good and valuable consideration
provided by the Released Parties, including, without limitation, the Released Parties’
contributions to facilitating the Restructuring Transactions and implementing the Plan; (ii)
a good faith resolution of the Claims released by the Debtor Releases; (iii) in the best interests
of the Debtors and all Holders of Claims and Interests; (iv) fair, equitable and reasonable;
(v) given and made after due notice and opportunity for hearing; and (vi) a bar to any of the
Debtors, the Reorganized Debtors or the Debtors’ Estates asserting any Cause of Action
released pursuant to the Debtor Releases.

Section 7.03 Releases by Holders of Claims and Interests

        To the fullest extent permitted by applicable law and approved by the Bankruptcy
Court, in addition to other provisions of the Plan or Orders of the Court granting or
providing for releases of Claims, and not in any way diminishing any such releases, effective
as of the Effective Date, except as otherwise expressly set forth in the Plan or the
Confirmation Order, on and after the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party is, and is
deemed to be, hereby conclusively, absolutely, unconditionally, irrevocably and forever,
released and discharged by each Releasing Party from any and all Causes of Action, whether
known or unknown, foreseen or unforeseen, matured or unmatured, in law, equity, contract,
tort or otherwise, including any derivative claims asserted on behalf of any of the Debtors,
that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, any
of the Debtors (including the capital structure, management, ownership or operation
thereof), the subject matter of or the transactions or events giving rise to any Claim or
Interest that is treated in the Plan, the business or contractual arrangements between any of
the Debtors any other Released Party, the Debtors’ in- or out-of-court restructuring efforts,
any Avoidance Actions (but excluding Avoidance Actions brought as counterclaims or
defenses to Claims asserted against any of the Debtors), intercompany transactions between
or among any of the Debtors or an affiliate of a Debtor and another Debtor or affiliate of a
Debtor, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
entry into, or filing of the Restructuring Support Agreement and related prepetition

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transactions, any Definitive Document, the Disclosure Statement, the New Governance
Documents, the Plan (including, for the avoidance of doubt, the Plan Supplement), or any
Restructuring Transactions, contract, instrument, release or other agreement or document
created or entered into in connection with the Restructuring Support Agreement, the New
Governance Documents, the Disclosure Statement, the Plan, the Plan Supplement, the filing
of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
administration and implementation of the Plan, including the issuance or distribution of the
new preferred and common equity shares or units of Online Pharmacy Holdings LLC
pursuant to the Plan, to the extent applicable, or the distribution of property under the Plan
or any other related agreement, or upon any other act or omission, transaction, agreement,
event or other occurrence related or relating to any of the foregoing, in each case taking place
on or before the Effective Date. For the avoidance of doubt, no direct third-party claims are
non-consensually released herein.

       Notwithstanding anything to the contrary in the foregoing, the releases set forth above
do not release (i) any liabilities arising after the Effective Date, (ii) the rights of any current
employee of any of the Debtors under any employment agreement or plan or any seller of
business assets or equity in any Debtor, or (iii) rights of Holders of Allowed Claims or
Allowed Interests to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
of the Third-Party Release, which include by reference each of the related provisions and
definitions contained in the Plan, and further shall constitute the Bankruptcy Court’s finding
that the Third-Party Release is: (i) consensual; (ii) essential to the confirmation of the Plan;
(iii) given in exchange for the good and valuable consideration provided by the Released
Parties; (iv) a good faith resolution of the Claims released by the Third-Party Releases; (v)
in the best interests of the Debtors and their Estates; (vi) fair, equitable and reasonable; (vii)
given and made after due notice and opportunity for hearing; and (viii) a bar to any of the
Releasing Parties asserting any claim or Cause of Action released pursuant to the Third-
Party Release.

Section 7.04 Discharge of Claims

        Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Plan, or in any contract, instrument, or other agreement or document created or
entered into pursuant to the Plan, the distributions, rights, and treatment that are provided in the
Plan shall be in complete satisfaction, discharge, and release, effective as of the Effective Date, of
Claims (including any Intercompany Claims resolved or compromised after the Effective Date by
the Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any
interest accrued on Claims or Interests from and after the Petition Date, whether known or
unknown, against, liabilities of, Liens on, obligations of, rights against, and Interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to the Plan on account of such Claims and Interests, including
demands, liabilities, and Causes of Action that arose before the Effective Date, any liability
(including withdrawal liability) to the extent such Claims or Interests relate to services performed
by employees of the Debtors prior to the Effective Date and that arise from a termination of

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employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in section 502(g), 502(h),
or 502(i) of the Bankruptcy Code, in each case whether or not: (i) a proof of claim or Interest based
upon such debt, right or Interest is filed or deemed filed pursuant to section 501 of the Bankruptcy
Code; (ii) a Claim or Interest based upon such Claim, debt, right, or Interest is Allowed pursuant
to section 502 of the Bankruptcy Code; or (iii) the Holder of such a Claim or Interest has accepted
the Plan or voted to reject the Plan. The Confirmation Order shall be a judicial determination of
the discharge of all Claims and Interests subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan or in any contract, instrument, or other agreement or
document created or entered into pursuant to the Plan.

Section 7.05 Exculpation

        As of the Effective Date, except as otherwise specifically provided in the Plan or
Confirmation Order, no Exculpated Party shall have or incur liability for, and each
Exculpated Party is hereby released and exculpated from, any Exculpated Claim other than
those arising out of or relating to any act by or omission of an Exculpated Party that have
been determined in a Final Order of a court of competent jurisdiction to have constituted
actual fraud, willful misconduct or gross negligence, but in all respects such Entities shall be
entitled to rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The Exculpated Parties have, and upon Consummation of the Plan
shall be deemed to have, participated in good faith and in compliance with the applicable
laws with regard to the solicitation of votes on the Plan, distribution of consideration
pursuant to the Plan and, to the extent applicable, the offer, issuance and sale or purchase of
securities pursuant to the Plan and, therefore, are not, and on account of such solicitation,
distribution and issuance shall not be, liable at any time for the violation of any applicable
law, rule or regulation governing the solicitation of acceptances or rejections of the Plan,
such distributions made pursuant to the Plan and issuance of securities pursuant to the Plan.
Notwithstanding anything to the contrary in the foregoing, the exculpations set forth above
do not release (i) any liabilities arising prior to the Petition Date or after the Effective Date,
(ii) the rights of any current employee of any of the Debtors under any employment
agreement or plan or (iii) the rights of Holders of Allowed Claims or Allowed Interests to
receive treatment in accordance with the Plan.

Section 7.06 Injunction

        Effective as of the Effective Date, except as otherwise expressly provided in the Plan
or the Confirmation Order or for obligations issued or required to be paid pursuant to the
Plan or the Confirmation Order, all Enjoined Parties are permanently enjoined, from and
after the Effective Date, from taking any of the following actions against, as applicable, any
of the Debtors, any of the Reorganized Debtors, the Exculpated Parties or the Released
Parties and their respective assets and properties: (i) commencing or continuing in any
manner any action, suit or other proceeding of any kind on account of or in connection with
or with respect to any such Claims or Interests; (ii) enforcing, attaching, collecting or
recovering by any manner or means any judgment, award, decree or order against such
Entities on account of or in connection with or with respect to any such Claims or Interests;

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(iii) creating, perfecting or enforcing any encumbrance of any kind against such Entities or
the property or the Estate of such Entities on account of or in connection with or with respect
to any such Claims or Interests; (iv) asserting any right of setoff, subrogation or recoupment
of any kind against any obligation due from such Entities or against the property of such
Entities on account of or in connection with or with respect to any such Claims or Interests
unless such Holder has filed a motion requesting the right to perform such setoff on or before
the Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise
that such Holder asserts, has or intends to preserve any right of setoff pursuant to applicable
law or otherwise; and (v) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims
or Interests released or settled pursuant to the Plan.

Section 7.07 Term of Injunctions or Stays

        Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays
in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
stays contained in the Plan or the Confirmation Order) shall remain in full force and effect until
the Effective Date. All injunctions or stays contained in the Plan or the Confirmation Order shall
remain in full force and effect in accordance with their terms.

Section 7.08 Protection Against Discriminatory Treatment

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, no Entities, including Governmental Units, shall discriminate against any of the
Reorganized Debtors or deny, revoke, suspend or refuse to renew a license, permit, charter,
franchise or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, any of the Reorganized Debtors or another Entity with whom such Reorganized
Debtor has been associated, solely because the Debtors have been a debtor under chapter 11 of the
Bankruptcy Code, have been insolvent before the commencement of the Chapter 11 Cases (or
during the Chapter 11 Cases but before the Debtors are granted or denied a discharge) or have not
paid a debt that is dischargeable in the Chapter 11 Cases.

Section 7.09 Release of Liens, Claims and Interests

        Except as otherwise provided herein or in any contract, instrument, release or other
agreement or document created pursuant to the Plan, on the Effective Date and concurrently
with the applicable distributions made pursuant to the Plan and, in the case of a Secured
Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the
Effective Date, all Claims, Interests or Liens, including but not limited to mortgages, deeds
of trust, Liens, pledges or other security interests, against or in any property of the Estates
shall be fully released, discharged, terminated and extinguished, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation,
order or rule or the vote, consent, authorization or approval of any Entity, and all of the
right, title and interest of any holder of such mortgages, deeds of trust, Liens, pledges or
other security interests shall revert to the Reorganized Debtors and their successors and

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assigns. Any Entity holding such Liens, Claims or Interests will, if necessary or reasonably
requested by the Debtors or Reorganized Debtors, pursuant to section 1142 of the
Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such
instruments of termination, release, satisfaction and/or assignment (in recordable form) as
may be reasonably requested by the Reorganized Debtors and shall incur no liability to any
Entity in connection with its execution and delivery of any such instruments. Any Holder of
a Secured Claim (and the applicable agents for such Holder) shall be authorized and directed
to release any collateral or other property of the Debtors held by such Holder (and the
applicable agents for such Holder), and to take such actions as may be reasonably requested
by the Reorganized Debtors to evidence the release of such Lien, including the execution,
delivery and filing or recording of such releases. The presentation or filing of the
Confirmation Order to or with any federal, state, provincial or local agency or department
shall constitute good and sufficient evidence of, but shall not be required to effect, the
termination of such Liens. For the avoidance of doubt, the Exit Facility Claims and the Liens
securing the Exit Facility Claims effected through the Prepetition Lien Conversion and the
DIP Lien Conversion pursuant to the Plan shall not be released, discharged, terminated or
extinguished to effect the Exit Capital Structure attached to the Restructuring Support
Agreement.

                                           ARTICLE VIII
                             CONDITIONS PRECEDENT TO CONFIRMATION
                               OF THE PLAN AND THE EFFECTIVE DATE

Section 8.01 Conditions Precedent to Confirmation

       It shall be a condition to Confirmation hereof that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Section 8.03.

       1.       The Bankruptcy Court shall have entered a Final Order, in form and substance
acceptable to the Consenting Lenders, approving the Disclosure Statement as containing adequate
information within the meaning of section 1125 of the Bankruptcy Code (which, for the avoidance
of doubt, may be the same order as the order confirming the Plan).

      2.      The Plan and the Plan Supplement, including any schedules, documents,
agreements, supplements and exhibits thereto (in each case in form and substance acceptable to
the Debtors and the Consenting Lenders as provided for under the Restructuring Support
Agreement) shall have been filed.

        3.     The Restructuring Support Agreement shall not have been rejected by the Debtors,
shall not have been terminated as of immediately prior to the Confirmation Date, nor shall there
have been any breach thereof by any party.

Section 8.02 Conditions Precedent to the Effective Date

       It shall be a condition to the Effective Date that the following provisions, terms and
conditions shall have been satisfied or waived pursuant to the provisions of Section 8.03.

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       1.      Each document or agreement constituting the Definitive Documents shall have
been executed and/or effectuated and shall be in form and substance consistent with the
Restructuring Support Agreement, including any consent rights included therein.

        2.     The Plan shall have been filed and the Bankruptcy Court shall have entered the
Confirmation Order in form and substance consistent with the Restructuring Support Agreement,
including any consent rights included therein, and such Confirmation Order shall not have been
stayed, modified, vacated, appealed or subjected to an injunction and shall have become a Final
Order.

        3.     The Bankruptcy Court shall have entered one or more Final Orders (which may
include the Confirmation Order) authorizing the assumption, assumption and assignment, and
rejection, as applicable, of Executory Contracts and Unexpired Leases by the Debtors as
contemplated herein.

        4.      All (i) governmental and regulatory approvals, clearances and consents necessary
and legally required, if any, under applicable non-bankruptcy law and (ii) material third-party
consents and approvals, if any, in each case in connection with the transactions provided for in the
Plan shall have been obtained, are not subject to unfulfilled conditions, and are in full force and
effect, and all applicable waiting periods have expired without any action having been taken by
any competent authority that restrains, prevents or enjoins the Restructuring Transactions.

      5.      To the extent invoiced at least one (1) Business Day before the Effective Date, all
amounts on account of invoiced and unpaid Transaction Expenses shall have been paid in full.

       6.      The Professional Fee Escrow Account shall have been established and funded with
the Professional Fee Amount in accordance with Section 2.02.

       7.     The transactions contemplated in the Restructuring Transactions shall have been
executed and completed by all of the Entities that are parties thereto.

       8.     The Restructuring Support Agreement shall have been assumed pursuant to the
Confirmation Order.

      9.      The New Governance Documents shall have been filed with the appropriate
governmental authority, as applicable.

        10.     The Existing Governance Documents shall have been amended, restated, or
replaced by the New Governance Documents, respectively, in all cases consistent with the consent
rights of the Consenting Lenders as set forth in the Restructuring Support Agreement.

      11.     The Restructuring Support Agreement shall not have been terminated as of
immediately prior to the Effective Date and there has been no breach thereof by any party.

              12.        [The GUC Trade Gift and the UCC Settlement Amount shall have been funded in
full.]
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Section 8.03 Waiver of Conditions

        The conditions to Confirmation of the Plan and to Consummation of the Plan set forth in
this Article VIII may be waived, in whole or in part, at any time by the Debtors, with the prior
written consent of the Consenting Lenders (email shall suffice), without notice, leave or order of
the Bankruptcy Court or any formal action; provided, however, that the Debtors may not waive
entry of the Confirmation Order.

Section 8.04 Effect of Failure of Conditions

        If the Consummation of the Plan does not occur by the Outside Date (as defined in the
Restructuring Support Agreement) as to any Debtor, the Plan shall be null and void in all respects
as to such Debtor and nothing contained in the Plan, the Disclosure Statement, or the Restructuring
Support Agreement shall: (i) constitute a waiver or release of any claims by or Claims against or
Interests in any of the Debtors; (ii) prejudice in any manner the rights of the Debtors, any Holder
of Claims or Interests or any other Entity; or (iii) constitute an admission, acknowledgment, offer
or undertaking by any of the Debtors, any Holder or any other Entity in any respect.

Section 8.05 Substantial Consummation

       “Substantial Consummation” of the Plan, as defined in section 1101(2) of the Bankruptcy
Code, shall be deemed to occur on the Effective Date.

                                     ARTICLE IX
                 MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

Section 9.01 Modification and Amendments

        Except as otherwise provided in the Plan, the Debtors (with the consent of the Consenting
Lenders) reserve the right to modify the Plan as to material and/or immaterial terms and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not re-solicit votes on such
modified Plan. Subject to section 1127(b) of the Bankruptcy Code and Bankruptcy Rule 3019 and
applicable restrictions on modifications set forth in the Plan, the Debtors (with the consent of the
Consenting Lenders) expressly reserve their respective rights to revoke, withdraw, alter, amend or
modify the Plan with respect to the Debtors, one or more times, after Confirmation, and, to the
extent necessary, may initiate proceedings in the Bankruptcy Court to so alter, amend or modify
the Plan or remedy any defect or omission or reconcile any inconsistencies in the Plan, the
Disclosure Statement or the Confirmation Order, in each case in such matters as may be necessary
to carry out the purposes and intent of the Plan. Any such modification or supplement shall be
considered a modification of the Plan and shall be made in accordance with this Article IX. Subject
to section 1127 of the Bankruptcy Code and, to the extent applicable, sections 1122, 1123 and
1125 of the Bankruptcy Code, any alterations, amendments or modifications of the Plan proposed
in writing by the Debtors at any time prior to or after the Confirmation Date, but prior to the
Effective Date, and in all cases subject to the consent of the Consenting Lenders, Holders of Claims
that have accepted the Plan shall be deemed to have accepted the Plan, as altered, amended or

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modified, without the re-solicitation if the proposed alteration, amendment or modification do not
materially and adversely change the treatment of the Claim of such Holder; provided, however,
that any Holders of Claims or Interests that were deemed to accept the Plan because such Claims
or Interests were Unimpaired shall continue to be deemed to accept the Plan only if, after giving
effect to such amendment or modification, such Claims continue to be Unimpaired.




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Section 9.02 Effect of Confirmation on Modifications

       Entry of a Confirmation Order, including under section 1127 of the Bankruptcy Code, shall
mean that all modifications or amendments to the Plan occurring after the solicitation are approved
pursuant to section 1127(a) of the Bankruptcy Code or section 1127(b) of the Bankruptcy Code,
as applicable, and do not require additional disclosure or re-solicitation under Bankruptcy Rule
3019.

Section 9.03 Revocation or Withdrawal of the Plan

        The Debtors reserve the right, upon prior notice to and with the consent of the Consenting
Lenders, to revoke or withdraw the Plan before the Confirmation Date and to file subsequent plans
of reorganization, either entirely or as to any one or more of the Debtors. If the Plan is revoked or
withdrawn as to fewer than all of the Debtors, such revocation or withdrawal shall not affect the
enforceability of the Plan as it relates to the Debtors for which the Plan is not revoked or
withdrawn. If (i) the Debtors revoke or withdraws the Plan in its entirety in accordance with this
Section 9.03, (ii) the Restructuring Support Agreement is terminated by the Outside Date (as
defined in the Restructuring Support Agreement), or (iii) Confirmation or Consummation does not
occur by the Outside Date (as defined in the Restructuring Support Agreement), then, absent
further order of the Bankruptcy Court: (i) the Plan shall be null and void in all respects unless
extended by the Debtors, with the prior written consent of the Consenting Lenders; (ii) any
settlement or compromise not previously approved by Final Order of the Bankruptcy Court
embodied in the Plan (including the fixing or limiting to an amount certain of any Claim or Interest
or Class of Claims or Interests), assumption or rejection of Executory Contracts or Unexpired
Leases effected by the Plan, and any document or agreement executed pursuant to the Plan, shall
be deemed null and void; and (iii) nothing contained in the Plan shall: (a) constitute a waiver or
release of any Claims or Interests; (b) prejudice in any manner the rights of such Debtor or any
other Entity, including the Holders of Claims or Interests or the Consenting Noteholders; or (c)
constitute an admission, acknowledgement, offer or undertaking of any sort by such Debtor or any
other Entity, including the Holders of Claims or Interests or the Consenting Noteholders.

                                           ARTICLE X
                                    RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall retain such jurisdiction over the Chapter 11 Cases, the Plan and
all matters, arising out of or related to, the Chapter 11 Cases and the Plan, including jurisdiction
to:

        1.     allow, disallow, determine, liquidate, classify, estimate or establish the priority,
secured or unsecured status or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount or allowance of Claims or Interests;




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       2.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

        3.      resolve any matters related to: (i) the assumption, assumption and assignment or
rejection of any Executory Contract or Unexpired Lease to which a Debtor is a party or with respect
to which a Debtor or Reorganized Debtor may be liable in any manner and to hear, determine and,
if necessary, liquidate, any Claims arising therefrom, including Cure Claims pursuant to section
365 of the Bankruptcy Code or any other matter related to such Executory Contract or Unexpired
Lease; (ii) any potential contractual obligation under any Executory Contract or Unexpired Lease
that is assumed; (iii) the Reorganized Debtors amending, modifying or supplementing, after the
Effective Date, pursuant to Article IX, any Executory Contracts or Unexpired Leases; and (iv) any
dispute regarding whether a contract or lease is, or was, executory or expired;

       4.      ensure that distributions to Holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan and adjudicate any and all disputes arising
from or relating to distributions under the Plan;

         5.     adjudicate, decide or resolve any and all motions, adversary proceedings, contested
or litigated matters and any other matters, and grant or deny any applications involving the Debtors
that may be pending on the Effective Date;

      6.     adjudicate, decide or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

       7.     enter and implement such orders as may be necessary or appropriate to execute,
implement or consummate the provisions of the Plan and all contracts, instruments, releases,
indentures and other agreements or documents created in connection with the Plan, Plan
Supplement or the Disclosure Statement;

       8.      enter and enforce any order for the sale of property pursuant to sections 363, 1123
or 1146(a) of the Bankruptcy Code;

        9.     resolve any and all cases, controversies, suits, disputes or Causes of Action that
may arise in connection with the Consummation, interpretation or enforcement of the Plan or any
Entity’s obligations incurred in connection with the Plan;

       10.    issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with Consummation or
enforcement of the Plan;

       11.     resolve any and all cases, controversies, suits, disputes or Causes of Action with
respect to existence, nature, scope or enforcement of any discharge, releases, injunctions,
exculpations, indemnifications and other provisions contained in Article VII and enter such orders
as may be necessary or appropriate to implement such releases, injunctions and other provisions;


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        12.     resolve any and all cases, controversies, suits, disputes or Causes of Action with
respect to the repayment or return of distributions and the recovery of additional amounts owed by
the Holder of a Claim for amounts not timely repaid pursuant to Article VI;

       13.     enter and implement such orders as are necessary or appropriate if the Confirmation
Order is for any reason modified, stayed, reversed, revoked or vacated;

       14.     determine any and all matters that may arise in connection with, relate to or be
necessary to execute, implement or consummate, the Plan, the Plan Supplement, the Disclosure
Statement, the Confirmation Order or any contract, instrument, release, indenture or other
agreement or document created in connection with the Plan, the Plan Supplement or the Disclosure
Statement;

              15.        adjudicate any and all disputes arising from or relating to distributions under the
Plan;

       16.     consider any and all modifications of the Plan, cure any defect or omission or
reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

       17.     determine requests for the payment of Claims and Interests entitled to priority
pursuant to section 507 of the Bankruptcy Code;

       18.    hear and determine disputes, cases, controversies or Causes of Action arising in
connection with the interpretation, implementation or enforcement of the Plan or the Confirmation
Order, including disputes arising under agreements, documents or instruments executed in
connection with the Plan;

       19.    hear and determine any and all matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code;

              20.        enforce any and all orders previously entered by the Bankruptcy Court;

              21.        hear any other matter not inconsistent with the Bankruptcy Code; and

              22.        enter an order and/or final decree concluding or closing the Chapter 11 Cases.

        provided, that, on and after the Effective Date and after the consummation of the following
agreements or documents, the Bankruptcy Court shall not retain jurisdiction over disputes
concerning documents contained in the Plan Supplement, including, among other documents, the
New Governance Documents and any documents related thereto that have a jurisdictional, forum
selection or dispute resolution clause that refers disputes to a different court, and any disputes
concerning documents contained in the Plan Supplement that contain such clauses shall be
governed in accordance with the provisions of such documents.




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                                           ARTICLE XI
                                    MISCELLANEOUS PROVISIONS

Section 11.01 Tax Structure

        As reasonably determined by the Debtors, upon emergence from the Chapter 11 Cases,
Optio Rx shall be structured as a limited liability company, and the Restructuring Transactions
shall, subject to the terms and conditions of the Restructuring Support Agreement, be structured
to achieve a tax-efficient structure, in a manner reasonably acceptable to the Reorganized Debtors
and subject to the consent rights of the Consenting Lenders in the Restructuring Support
Agreement.

Section 11.02 Immediate Binding Effect

        Subject to Section 8.02 hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h) or
7062 or otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for
the avoidance of doubt, the documents and instruments contained in the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized
Debtors and any and all Holders of Claims or Interests (irrespective of whether such Holders of
Claims or Interests have, or are deemed to have, accepted the Plan), all Entities that are parties to
or are subject to the settlements, compromises, releases, discharges and injunctions described in
the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to
Executory Contracts and Unexpired Leases with the Debtors.

Section 11.03 Additional Documents

        On or before the Effective Date, and consistent with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents
as may be necessary or appropriate to effectuate and further evidence the terms and conditions of
the Plan. Subject to their respective obligations under the Restructuring Support Agreement, the
Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare,
execute and deliver any agreements or documents and take any other actions as may be reasonably
necessary or advisable to effectuate the provisions and intent of the Plan.

Section 11.04 Reservation of Rights

        Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no
force or effect if the Effective Date does not occur. None of the filing of the Plan, any statement
or provision contained in the Plan or any action taken or not taken by the Debtors with respect to
the Plan, the Disclosure Statement or the Plan Supplement shall be or shall be deemed to be an
admission or waiver of any rights of any Debtors with respect to the Holders of Claims or Interests
prior to the Effective Date.



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Section 11.05 Successors and Assigns

        The rights, benefits and obligations of any Entity named or referred to in the Plan shall be
binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign,
Affiliate, officer, director, trustee, manager, agent, representative, attorney, beneficiaries or
guardian, if any, of each Entity.

Section 11.06 Notices

        All notices, requests and demands to or upon the Debtors, the Reorganized Debtors or the
Consenting Lenders, as applicable, or any required by or in connection with the Plan shall be in
writing (including by facsimile or electronic transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered or, in
the case of notice by facsimile and electronic transmission, when received and telephonically or
electronically confirmed, addressed as follows:

              If to the Debtors or the Reorganized Debtors:

              Optio Rx, LLC
              3701 Commercial Avenue
              Suite 14
              Northbrook, Illinois 60061
              Attn: Ben David, CEO
              Email: bdavid@optiorx.com

              With a copy to:

              CHIPMAN BROWN CICERO & COLE, LLP
              William E. Chipman, Jr.
              Mark D. Olivere
              Hercules Plaza
              1313 North Market Street, Suite 5400
              Wilmington, Delaware 19801
              Telephone:     (302) 295-0191
              Facsimile:     (302) 295-0199
              Email: chipman@chipmanbrown.com
                     olivere@chipmanbrown.com

              If to the Consenting Lenders:

              DLA Piper LLP (US)_
              1251 Avenue of the Americas
              27th Floor
              New York, NY 10020-1104
              Attn: Jamie Knox
              Email: Jamie.Knox@us.dlapiper.com

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              and

              DLA Piper LLP (US)
              1201 North Market Street
              Suite 2100
              Wilmington, DE 19801-1147
              Attn: Stuart Brown
              Email: stuart.brown@us.dlapiper.com

After the Effective Date, the Reorganized Debtors may, in their sole discretion, notify Entities that,
in order to continue receiving documents pursuant to Bankruptcy Rule 2002, such Entities must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective
Date, the Reorganized Debtors are authorized to limit the list of Entities receiving documents
pursuant to Bankruptcy Rule 2002 to those Entities who have filed such renewed requests.

Section 11.07 Entire Agreement

        Except as otherwise indicated, and without limiting the effectiveness of the Restructuring
Support Agreement, the Plan (including, for the avoidance of doubt, the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings and representations on such subjects, all of which have become merged and
integrated into the Plan.

Section 11.08 Severability of Plan Provisions

        If, before Confirmation of the Plan, any term or provision of the Plan is held by the
Bankruptcy Court or any other court exercising jurisdiction to be invalid, void or unenforceable,
the Bankruptcy Court or other court exercising jurisdiction shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired
or invalidated by such holding, alteration or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with the foregoing, is: (i) valid and enforceable
pursuant to its terms; (ii) integral to the Plan and may not be deleted or modified without the
consent of the Debtors and the Consenting Lenders; and (iii) nonseverable and mutually
dependent.

Section 11.09 Exhibits

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. After the exhibits and documents are filed,
copies of such exhibits and documents shall be available upon request to the Debtors’ counsel, or
at the website of the Solicitation Agent, at OptioRXInquiries@stretto.com. To the extent any

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exhibit or document is inconsistent with the terms of the Plan, unless otherwise ordered by the
Bankruptcy Court, the non-exhibit or non-document portion of the Plan shall control.

Section 11.10 Votes Solicited in Good Faith

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes
on the Plan in good faith and in compliance with the Bankruptcy Code and any applicable
nonbankruptcy law, and pursuant to section 1125(e) of the Bankruptcy Code, the Debtors and their
respective Affiliates, agents, representatives, members, principals, shareholders, officers,
directors, trustees, employees, advisors and attorneys will be deemed to have participated in good
faith and in compliance with the Bankruptcy Code and the applicable nonbankruptcy law in the
offer, issuance, sale and purchase of securities offered and sold under the Plan and any previous
plan, and, therefore, neither any of such parties or individuals or Reorganized Debtors will have
any liability for the violation of any applicable law, rule or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale or purchase of the securities offered and sold under
the Plan and any previous plan.

Section 11.11 Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11
Cases, file with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any
applicable order of the Bankruptcy Court to close the Chapter 11 Cases; provided, however, that,
as of the Effective Date, the Reorganized Debtors may submit separate motions and orders to the
Bankruptcy Court requesting the closing of certain individual Chapter 11 Cases and changing the
caption of the Chapter 11 Cases accordingly; provided further that matters concerning Claims may
be heard and adjudicated in one of the Debtors’ Chapter 11 Cases that remains open regardless of
whether the applicable Claim is against a Debtor in a Chapter 11 Case that is closed. Nothing in
the Plan shall authorize the closing of any case nunc pro tunc to a date that precedes the date any
such order is entered. Any request for nunc pro tunc relief shall be made on motion served on the
United States Trustee, and the Bankruptcy Court shall rule on such request after notice and a
hearing. Upon the filing of a motion to close the last Chapter 11 Case remaining open, the
Reorganized Debtors shall file a final report with respect to all of the Chapter 11 Cases pursuant
to Local Bankruptcy Rule 3022-1(c).

Section 11.12 Document Retention

       On and after the Effective Date, the Reorganized Debtors may maintain documents in
accordance with their standard document retention policy, as may be altered, amended, modified
or supplemented by the Reorganized Debtors.

Section 11.13 Further Assurances

        The Debtors, the Reorganized Debtors and all Holders of Claims or Interests receiving
distributions hereunder and all other parties-in-interest agree to prepare, execute and deliver any
agreements, instruments or documents and take any other actions, in addition to the matters
specified in the Plan, as may be reasonably appropriate, necessary or advisable, or as may be

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required by order of the Bankruptcy Court, from time to time, to effectuate the provisions and
intent of the Plan.
Section 11.14 Claims Against Other Debtors

       Nothing in the Plan or the Disclosure Statement or any document or pleading filed in
connection therewith shall constitute or be deemed to constitute an admission that any of the
Debtors are subject to or liable for any Claim against any other Debtor.

Section 11.15 Transaction Expenses

        The Transaction Expenses incurred, or estimated to be incurred, up to and including the
Effective Date shall be paid in full in Cash on the Effective Date (to the extent not previously paid
during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms set forth
herein and in the Restructuring Support Agreement, as applicable, without any requirement to file
a fee application with the Bankruptcy Court, without the need for itemized time detail and without
any requirement for Bankruptcy Court’s review or approval. All Transaction Expenses to be paid
on the Effective Date (to the extent not previously invoiced) shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least three (3) Business
Day before the anticipated Effective Date; provided, however, that such estimates shall not be
considered an admission or limitation with respect to such Transaction Expenses. In addition, the
Debtors and the Reorganized Debtors (as applicable) shall continue to pay when due the reasonable
pre- and post-Effective Date Transaction Expenses related to the implementation, consummation
and defense of the Plan, whether incurred before, on or after the Effective Date, upon receipt of
invoices therefor.


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Dated: September 10, 2024

                                                Respectfully submitted,

                                                Optio Rx, LLC
                                                Braun Pharma, LLC
                                                Dr. Ike’s PharmaCare, LLC
                                                Rose Pharmacy SA LLC
                                                Rose Pharmacy SF LLC
                                                Rose Pharmacy RM LLC
                                                Pet Apothecary, LLC
                                                Crestview Holdings, LLC
                                                SBH Medical, LLC
                                                H&H Pharmacy, LLC
                                                Enovex Pharmacy, LLC
                                                SMC Pharmacy, LLC
                                                SMC Lyons Holdings, LLC
                                                Baybridge Pharmacy, LLC
                                                Central Pharmacy, LLC
                                                Pro Pharmacy, LLC
                                                Healthy Choice Compounding LLC
                                                Oakdell Compounding Pharmacy, LLC
                                                The Pet Apothecary LLC
                                                Crestview Pharmacy, LLC
                                                SBH Medical, Ltd.
                                                Concierge Pharmacy, LLC
                                                Firstcare Pharmacy, LLC
                                                Easycare Pharmacy, LLC
                                                Primecare Pharmacy, LLC.


                                                By:      /s/ Ben David
                                                Name: Ben David
                                                Title: Chief Executive Officer




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